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          In the United States Court of Federal Claims
                                     No. 20-926C
                                 Filed: May 31, 2022
                       Reissued for Publication: June 26, 20221


    * * * * * * * * * * * * * * * * **
    AGMA SECURITY SERVICE, INC.,            *
                                            *
                                            *
                     Protestor,             *
                                            *
    v.                                      *
    UNITED STATES,                          *
                                            *
                      Defendant,            *
                                            *
    v.                                      *
                                            *
    RANGER AMERICAN OF PUERTO               *
    RICO,2                                  *
                  Defendant-Intervenor.     *
    * * * * * * * * * * * * * * * * **
         Alan Grayson, Esq., Windermere, FL for protestor.

      Kara M. Westercamp, Trial Attorney, Commercial Litigation Branch, Civil Division,
United States Department of Justice, Washington, D.C., for the defendant. With her were
Elizabeth M. Hosford, Assistant Director, Commercial Litigation Branch, Patricia M.
McCarthy, Director, Commercial Litigation Branch, and Brian M. Boynton, Principal
Deputy Assistant Attorney General, Civil Division. Matthew Lane, Office of Chief
Counsel, Procurement and Fiscal Legal Division, Federal Emergency Management
Agency, of counsel.

       Todd M. Garland, Smith Pachter McWhorter PLC, Tysons Corner, VA for
intervenor. With him was Jonathan D. Shaffer, Smith Pachter McWhorter PLC, Tysons
Corner, VA.


1This Opinion was issued under seal on May 31, 2022. The parties were given the
opportunity to propose possible redactions, but no redactions were proposed. The original
Opinion is hereby unsealed and reissued without redaction.

2 The intervenor, Ranger-American of Puerto Rico (Ranger), did not participate in the
proceedings related to the attorneys’ fees request considered in this Opinion.
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                                      OPINION

HORN, J.


       The attorneys for AGMA Security Service, Inc. (AGMA) in the above captioned
case, AGMA Security Service, Inc. v. United States, No. 20-926C, filed an application,
pursuant to Rule 54(d) of the Rules of the United States Court of Federal Claims (RCFC)
(2021), for attorneys’ fees and other expenses pursuant to the Equal Access to Justice
Act (EAJA), 28 U.S.C.A. § 2412 (2019).3 In AGMA Security Service, Inc. v. United States,
152 Fed. Cl. 125 (2020) (AGMA I), this court issued an Opinion on the merits of AGMA’s
bid protest case, contesting FEMA’s award to Ranger, which granted protestor’s motion
for judgment on the Administrative Record and granted an injunction, effective Friday,
January 8, 2021. This court also denied defendant’s and intervenor Ranger’s motion for
judgment on the Administrative Record. Protestor AGMA also had successfully protested
the award of a bridge contract to Ranger in AGMA Security Service, Inc. v. United States,
152 Fed. Cl. 706 (2021), which is not at issue in the current request for fees and other
expenses. The proceedings in this court also were preceded by protests to the United
States Government Accountability Office (GAO).

                                  FINDINGS OF FACT

        The facts of AGMA’s protest in Case No. 20-926C were detailed in the court’s
earlier Opinion, AGMA I, 152 Fed. Cl. 125, and are incorporated into this Opinion. Only
certain facts most relevant to the protestor’s attorneys’ EAJA request are repeated below.
On November 19, 2019, FEMA issued Request for Proposal No. 70FBR220R000000002
(the RFP). See id. at 130. The RFP indicated that “[t]his requirement is for contracted
Protective Service Officers (PSO) and Patrolled Services to safeguard federal employees,
visitors and property at both temporary and fixed facilities during disaster and emergency
declarations for DR-4339 (all counties and municipalities within the Commonwealth of
Puerto Rico).” Id. The RFP stated that the “Government intends to award a Labor Hour
type contracts [sic] resulting from this solicitation to be the most advantageous to the
Government, price and other factors considered. Award will be made to the responsive,
responsible contractor who [sic] provides the best-valued solution to the Government.” Id.
(alteration in original). The RFP provided for a one year period of performance followed
by a one-year option period. See id. The RFP stated that “[t]he acquisition will be
conducted using Best Value as the evaluation methodology.” Id. On March 3, 2020, after
evaluating the proposals received, including those from the protestor AGMA and from
intervenor Ranger, the Source Selection Evaluation Board (SSEB) issued an initial Award
Decision Memorandum in which the SSEB concluded:

      AGMAs [sic] overall rating is satisfactory on both technical and past
      performance. Although Ranger received a rating of Good. [sic] Contracting


3The EAJA statute at 28 U.S.C. § 2412 was modified in 2019 by Public Law No. 116-9,
133 Stat 580 (2019). The modifications to EAJA, however, are not relevant to this Opinion.
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      Officer determined that there was no rational [sic] that substantiates paying
      a higher price to Ranger when the same services could be provided from
      AGMA . . . . AGMA’s proposal offers the best overall value to the
      Government and price is determined to be fair and reasonable.

Id. at 140–01 (alterations added). On March 13, 2020, FEMA awarded the contract to
AGMA and ten days later, on March 23, 2020, Ranger filed a protest at the United States
Government Accountability Office (GAO). At the GAO, Ranger alleged that “FEMA had
not properly evaluated the Technical Factors, and further argued that FEMA had not
conducted a proper trade-off and best-value determination.” Id. at 141. In response to
Ranger’s protest, on April 13, 2020, FEMA requested that the GAO dismiss the protest
because

      after careful consideration of the protestor’s [Ranger] allegations and the
      procurement record, FEMA has decided to take corrective action. This
      corrective action will consist of a reevaluation of the protester's and
      awardee's proposals as well as a new award decision. FEMA may also take
      any other corrective action it deems appropriate. Due to the Agency's
      corrective action, the bases for the protest are no longer valid and,
      therefore, this protest is academic and should be dismissed. General
      Dynamics Mission Sys., Inc., B-414587, B-414587.2, May 11, 2017, 2017
      CPD ¶ 142 at 1. For the reasons set forth above, FEMA respectfully
      requests that you dismiss Ranger American of Puerto Rico's protest in its
      entirety.

AGMA I, 152 Fed. Cl. at 142 (alteration added).

       On April 15, 2020, the GAO issued a decision which stated in part: “We dismiss
the protest based on the corrective action taken by the agency.” Ranger American of
Puerto Rico, Inc., B-418598.1 (Comp. Gen. Apr. 15, 2020). This court, in AGMA I,
discussed what had occurred after the GAO proceedings:

             The contracting officer thereafter reevaluated the proposals
             and conducted a new best value trade-off analysis based on
             the SSEB’s ratings of the proposals. As with the initial award
             decision memorandum, in the corrective action award
             decision memorandum (revised award decision), the
             contracting officer largely adopted the SSEB’s technical
             findings. In other words, the board did not meet again to
             conduct a new technical evaluation of AGMA’s and Ranger’s
             proposals. The contracting officer, did, however, change
             Ranger’s prior Good rating for past performance (seemingly a
             typo by the SSEB because it was not an available adjectival
             rating in the RFP), to Superior. She also modified the score of
             “4” to “3” for Ranger's past performance, which was the value


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              corresponding to a Superior rating. Ranger’s overall
              numerical rating was thus reduced to “15” from “16.”

       (internal citations omitted).

              On June 15, 2020, the contracting officer issued a Revised Award
       Decision Memorandum, albeit without seeking revised proposals. In the
       Revised Award Decision Memorandum, the contracting officer indicated
       that

              The Solicitation stated that technical factors would be more
              important than price. Offeror 6 (Ranger) had a 50% higher
              technical score than AGMA and only a 20% higher price.
              Ranger had a higher rating with regard to Project
              Management Plan, Quality Control Plan, and Past
              Performance. While Offeror 2’s (AGMA) proposal was
              perfectly adequate, Offeror 6’s (Ranger) was significantly
              better.

AGMA I, 152 Fed. Cl. at 147. The contracting officer concluded that “Ranger’s proposal
is significantly stronger and offers the best-valued solution to the Government, and the
price is determined to be fair and reasonable.” See id. On June 15, 2020, the contracting
officer made the award of contract No. 70FBR220C0000001 to Ranger and on June 23,
2020, FEMA terminated for convenience the contract previously awarded to AGMA. See
id. at 146.

        On July 29, 2020, AGMA filed a bid protest complaint in this court, the above
captioned Case No. 20-926C, as well as a motion for injunctive relief. See id. In this court,
AGMA alleged that, in the revised award, “‘FEMA improperly accepted Ranger’s
certification as a local firm, and FEMA should have rejected Ranger’s proposal on this
basis.” Id. at 148. According to protestor, “[t]his action was a violation of the Stafford Act
and FAR Subpart 26.2 provisions regarding local-firm set-asides, related procurement
law and the APA.’” AGMA I, 152 Fed. Cl. at 148 (alteration added). AGMA also alleged
that “‘after Ranger’s protest, FEMA improperly reevaluated the Ranger and AGMA
proposals, and decided to terminate the AGMA Contract and make award to Ranger.’” Id.

       With regard to AGMA’s Stafford Act claim, this court found that “Ranger American
of Puerto Rico’s representations were sufficient to meet the requirements of the Stafford
Act and FEMA acted reasonably to rely on those representations.” Id. at 154. This court
then addressed “FEMA’s actions after the corrective action.” See id. at 155. This court
stated that the court was “not able to conclude that FEMA used a different basis to re-
evaluate the proposals after the corrective action than was used prior to the GAO
dismissal, notwithstanding the award to Ranger American of Puerto Rico instead of to
AGMA.” Id. at 169. The court determined, however, that



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       at no point, after the corrective action was undertaken did the contracting
       officer explain why the corrective action and the revised evaluations were
       occurring, why revisions of proposals were not required by the agency, why
       particular evaluation revisions were undertaken by the agency, or what was
       wrong with the previous evaluation. Taken as a whole, the actions taken by
       the contracting officer after the corrective action are considered by the court
       to be arbitrary and capricious.

Id. This court’s Opinion also stated:

       The court notes that protestor raises a number of claims about the
       evaluation by the contracting officer, which occurred in both the initial
       evaluation and the revised evaluation. For example, protestor argues that
       “[t]he agency failed to evaluate past performance in accordance with the
       Solicitation,” and states that “FEMA scored Ranger’s Quality Control Plan
       as ‘Good,’ even though it never used that term to describe the strengths of
       Ranger’s Plan. FEMA scored AGMA's Quality Control Plan as merely
       ‘Satisfactory,’ even though it uses the term ‘good,’ twice, to describe the
       strengths of AGMA’s Plan.” (internal references omitted). In response,
       defendant notes that “although AGMA alleges that the SSEB should have
       rated its quality control and past performance more favorably, the corrective
       action did not re-assess either of these factors and AGMA’s adjectival
       ratings remained unchanged.” (internal references omitted). Protestor
       states:

              The Government defends this record of numerous evaluation
              errors by observing that AGMA “did not challenge its ratings
              after FEMA initially made award to it” – an argument that the
              Government makes repeatedly in response to the FEMA
              evaluation errors that are reflected in the record. That is true,
              but requiring an awardee to protest an award to itself would
              represent a dramatic change in procurement law.

       (internal reference omitted). As the court has determined that it was
       arbitrary and capricious for the agency to make the revised award to Ranger
       American of Puerto Rico, the court does not need to reach the issue of
       protestor's additional challenges, or whether or not protestor was obligated
       to raise its concerns prior to the award to Ranger American of Puerto Rico.

Id. at 170. After determining that FEMA had acted without a rational basis, this court then
evaluated whether “the bid protestor was prejudiced by that conduct.” Id. at 160–61 (citing
Bannum, Inc., v. United States, 404 F.3d 1346, 1351 (Fed. Cir. 2005), T Square Logistics
Servs. Corp. v. United States, 134 Fed. Cl. 550, 555 (2017), and Archura LLC v. United
States, 112 Fed. Cl. 487, 496 (2021)).



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        In AGMA I, this court found that AGMA had a substantial chance of award because,
as noted “in the Revised Award Decision Memorandum, AGMA had the second highest
number total in the numerical rating chart behind only Ranger American of Puerto Rico.”
Id. at 171. The court found, therefore, that the “best value trade-off analysis demonstrates
that there was a substantial chance of AGMA receiving the award, but for the errors in
the procurement process.” Id. at 172. As such, on December 29, 2020, this court granted
protestor’s motion for injunctive relief. As noted above, the injunction was effective as of
January 8, 2021. On January 27, 2021, AGMA’s attorneys filed an initial EAJA fees
request, and filed a supplemental brief regarding attorneys’ fees on January 29, 2021. In
response, on February 24, 2021, defendant filed a motion to dismiss AGMA’s EAJA
request as premature “because the Court’s December 29, 2020 judgment has not
become final; indeed, defendant-intervenor, Ranger-American of Puerto Rico, Inc.
(Ranger), filed a notice of appeal today.” This court agreed with defendant, finding that
because “intervenor filed an appeal in the above-captioned protest, the result is final
judgment cannot be entered until all appeals are resolved.” This court, therefore, granted
defendant’s motion to dismiss the initial attorneys’ fees request, without prejudice. After
Ranger filed an appeal to the United States Court of Appeals for the Federal Circuit, Case
No. 21-1716, on February 24, 2021, Ranger filed an unopposed motion to voluntarily
dismiss its appeal, which the Federal Circuit granted on September 1, 2021. Thereafter,
AGMA’s attorneys filed a renewed request for attorneys’ fees in this court on September
17, 2021, which includes the hours claimed in AGMA’s attorneys’ initial fees request, as
well as 1.3 hours on September 17, 2021 that Mr. Grayson, counsel of record, claims he
spent working on the renewed fees request. Defendant filed a response opposing certain
time entries submitted by AGMA’s attorneys. AGMA filed a reply brief in which AGMA’s
attorneys requested an additional 9 hours for time spent litigating their EAJA request.

                                       DISCUSSION

   I.      History of EAJA and EAJA Requirements

       With regard to paying attorneys’ fees and costs, the United States Supreme Court
has stated:

        This Court’s “‘basic point of reference’ when considering the award of
        attorney's fees is the bedrock principle known as the ‘“American Rule”’:
        Each litigant pays his own attorney’s fees, win or lose, unless a statute or
        contract provides otherwise.” Hardt v. Reliance Standard Life Ins. Co., 560
        U.S. 242, 252–53, 130 S. Ct. 2149, 176 L. Ed. 2d 998 (2010) (quoting
        Ruckelshaus v. Sierra Club, 463 U.S. 680, 683, 103 S. Ct. 3274, 77 L. Ed.
        2d 938 (1983)). The American Rule has “roots in our common law reaching
        back to at least the 18th century.” Baker Botts, 576 U.S., [121, 126], 135 S.
        Ct., at 2164 (citing Arcambel v. Wiseman, 3 Dall. 306, 1 L. Ed. 613 (1796));
        see also Summit Valley Industries, Inc. v. Carpenters, 456 U.S. 717, 721,
        102 S. Ct. 2112, 72 L. Ed. 2d 511 (1982) (observing that the American Rule
        “has been consistently followed for almost 200 years”); Alyeska Pipeline,


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       421 U.S. [247,] 257 [(1975)], 95 S. Ct. 1612 (referring to the presumption
       against shifting attorney's fees as a “general” rule).

Peter v. Nantkwest, Inc., 140 S. Ct. 365, 370–71 (2019) (alteration added); see also
Buckhannon Bd. and Care Home, Inc. v. W. Va. Dep’t of Health and Human Res., 532
U.S. 598, 602 (2001) (citing Alyeska Pipeline Serv. Co. v. Wilderness Soc’y, 421 U.S. at
247 (“In the United States, the prevailing litigant is ordinarily not entitled to collect a
reasonable attorney’s fee from the loser.”); Nilssen v. Osfam Sylvania, Inc., 528 F.3d
1352, 1357 (Fed. Cir.), reh’g en banc denied (Fed. Cir. 2008); Arcambel v. Wiseman, 3
U.S. (Dall.) 306 (1796). “Absent statute or enforceable contract, litigants pay their own
attorney’s fees.” Alyeska Pipeline Serv. Co. v. Wilderness Soc’y, 421 U.S. at 257
(citations omitted). This has come to be known as the “American Rule,” and the only
exceptions to this rule are those created by Congress and a small group of common law
equitable exceptions which federal courts lack the power to enlarge. See id. at 269. The
Supreme Court in Alyeska noted the equitable exceptions of (1) willful disobedience of a
court order, (2) bad faith on the part of a losing party, and (3) the common fund or common
benefit exception allowing recovery of costs when the prevailing party is a trustee of
property or is a party preserving or recovering a fund for the benefit of others in addition
to himself. See id. at 257–59. When the House of Representatives considered the Equal
Access to Justice Act, it provided the following rationale:

       For many citizens, the costs of securing vindication of their rights and the
       inability to recover attorney fees preclude resort to the adjudicatory process.
       When the cost of contesting a Government order, for example, exceeds the
       amount at stake, a party has no realistic choice and no effective remedy. In
       these cases, it is more practical to endure an injustice than to contest it.

H.R. Rep. No. 96-1418, at 9, reprinted in 1980 U.S.C.C.A.N. at 4988.

        In addition, litigants seeking to recoup litigation expenses from the United States
also face the barrier of overcoming sovereign immunity. See Nilssen v. Osfam Sylvania,
Inc., 528 F.3d at 1357; see also Chiu v. United States, 948 F.2d 711, 714 (Fed. Cir. 1991);
Gavette v. Office of Pers. Mgmt., 808 F.2d 1456, 1460 (Fed. Cir. 1986); Griffin & Dickson
v. United States, 21 Cl. Ct. 1, 4 (1990). “[T]he traditional principle that the Government's
consent to be sued ‘must be “construed strictly in favor of the sovereign . . . .”’” United
States v. Nordic Vill., 503 U.S. 30, 34 (1992) (quoting Ruckelshaus v. Sierra Club, 463
U.S. at 685 (quoting McMahon v. United States, 342 U.S. 25, 27 (1951))); see also
Ardestani v. I.N.S., 502 U.S. 129, 137 (1991); Crawford v. United States, 157 Fed. Cl.
741, 744 (2022) (“Because the EAJA renders defendant liable for attorneys’ fees for which
it would not otherwise be responsible, the statute operates as a partial waiver of sovereign
immunity. The statute must, therefore, ‘be strictly construed in favor of the United
States.’”) (internal citation omitted).

        Only a statutory directive waiving immunity can make the United States potentially
liable in suit. See Lane v. Pena, 518 U.S. 187, 192 (1996); United States v. Testan, 424
U.S. 392, 399 (1976); Soriano v. United States, 352 U.S. 270, 276 (1957). Departing from
the American rule that generally each party in a litigation pays its own costs, “Congress
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enacted EAJA, Pub. L. 96-481, Tit. II, 94 Stat. 2325, in 1980 “‘to eliminate the barriers
that prohibit small businesses and individuals from securing vindication of their rights in
civil actions and administrative proceedings brought by or against the Federal
Government.’” Starry Assocs., Inc. v. United States, 892 F.3d 1372, 1377 (Fed. Cir. 2018)
(quoting Scarborough v. Principi, 541 U.S. 401, 406 (2004) (quoting H.R. Rep. No. 96-
1005, at 9 (1980))); see also Gavette v. Office of Pers. Mgmt., 808 F.2d at 1459 (quoting
H.R. Rep. No. 96-1418, at 5 (1980), reprinted in 1980 U.S.C.C.A.N. 4984, 4984 (1980))
(Congress recognized that the American Rule deterred individuals and small businesses
“from seeking review of, or defending against unreasonable governmental action because
of the expense involved in securing the vindication of their rights”); Crawford v. United
States, 157 Fed. Cl. at 743–44 (“the EAJA creates an exception to this general rule
[American Rule], and under certain circumstances, also allows for recovery of costs”);
Yang v. United States, 156 Fed. Cl. 1, 5 (2021) (“EAJA provides a means by which a
qualifying party might receive reasonable attorneys’ fees and related expenses and costs
for prevailing in litigation involving the United States.”); 2M Rsch. Servs., LLC v. United
States, 148 Fed. Cl. 99, 103 (2020) (“Congress created EAJA for the purpose of placing
private litigants and the government on equal footing regarding the costs of litigation.”).
“The primary purpose of the EAJA is to ensure that litigants ‘will not be deterred from
seeking review of, or defending against, unjustified governmental action because of the
expense involved.’” Wagner v. Shinseki, 640 F.3d 1255, 1259 (Fed. Cir. 2011) (quoting
Scarborough v. Principi, 541 U.S. at 407) (citations and internal quotation marks omitted
in original); see also Ellis v. United States, 711 F.2d 1571, 1576 (Fed. Cir. 1983) (“EAJA’s
primary purpose is to eliminate legal expense as a barrier to challenges of unreasonable
government action.”).

        As indicated by the United States Court of Appeals for the Federal Circuit, EAJA
is a fee-shifting statute that allows a party who prevails in a civil action against the
government to recover attorney fees and costs. See Robinson v. O’Rourke, 891 F.3d 976,
980 (Fed. Cir. 2018); Gurley v. Peake, 528 F.3d 1322, 1326 (Fed. Cir. 2008); Davis v.
Nicholson, 475 F.3d 1360, 1363 (Fed. Cir.), reh’g and reh’g en banc denied (Fed. Cir.
2007). Because EAJA “exposes the government to liability for attorney fees and expenses
to which it would not otherwise be subjected, it is a waiver of sovereign immunity.” Ed A.
Wilson, Inc. v. Gen. Servs. Admin., 126 F.3d 1406, 1408 (Fed. Cir. 1997) (citing Ardestani
v. I.N.S., 502 U.S. at 137).

       In order to accomplish its purpose, EAJA made two primary changes to the then
prevailing law. See Gavette v. Office of Pers. Mgmt., 808 F.2d at 1460 (citing H.R. Rep.
No. 96-1418, at 9, 1980 U.S.C.C.A.N. at 4987). First, in 28 U.S.C. § 2412(b), the EAJA
extended the existing common law and statutory exceptions to the American Rule to
make the United States liable for attorney's fees just as private parties would be liable.
See Gavette v. Office of Pers. Mgmt., 808 F.2d at 1460 (citing H.R. Rep. No. 96-1418, at
9, 17, 1980 U.S.C.C.A.N. at 4987, 4996); see also Scarborough v. Principi, 541 U.S. at
406 (“First, § 2412(b) made the United States liable for attorney's fees and expenses ‘to
the same extent that any other party would be liable under the common law or under the
terms of any statute which specifically provides for such an award.’”). As reflected in
Gavette v. Office of Personnel Management, the House Committee on the Judiciary

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stated that:

       Section 2412(b) permits a court in its discretion to award attorney’s fees and
       other expenses to prevailing parties in civil litigation involving the United
       States to the same extent it may award fees in cases involving other parties
       . . . . Thus, under this subsection, cases involving the United States would
       be subject to the “bad faith,” “common fund” and “common benefit”
       exceptions to the American rule against fee-shifting. The United States
       would also be liable under the same standards which govern awards
       against other parties under Federal statutory exceptions, unless the statute
       expressly provides otherwise.

Gavette v. Office of Pers. Mgmt., 808 F.2d at 1460 (citing H.R. Rep. No. 96-1418, at 17,
1980 U.S.C.C.A.N. at 4996); see, e.g., Centex Corp. v. United States, 486 F.3d 1369,
1372 (Fed. Cir. 2007) (stating that section 2412(b) “allows for fee awards when the
government acts in bad faith as defined under the common law.”); Knight v. United States,
982 F.2d 1573, 1579–82 (Fed. Cir. 1993) (common fund exception); MVM, Inc. v. United
States, 47 Fed. Cl. 361, 363–65 (2000) (common benefit); St. Paul Fire & Marine Ins. Co.
v. United States, 4 Cl. Ct. 762, 769 (1984) (bad faith exception).

     Regarding the eligibility criteria for parties seeking attorneys’ fees under EAJA, the
Supreme Court has stated that

       eligibility for a fee award in any civil action requires: (1) that the claimant be
       a “prevailing party”; (2) that the Government's position was not
       “substantially justified”; (3) that no “special circumstances make an award
       unjust”; and, (4) pursuant to 28 U.S.C. § 2412(d)(1)(B), that any fee
       application be submitted to the court within 30 days of final judgment in the
       action and be supported by an itemized statement.

Comm’r, I.N.S. v. Jean, 496 U.S. 154, 158 (1990) (quotations omitted); see also
Scarborough v. Principi, 541 U.S. at 408 (quoting the eligibility criteria contained at
Section 2412(d) of the EAJA statute); Smith v. McDonough, 995 F.3d 1338, 1344 (Fed.
Cir. 2021) (“In general, the EAJA requires an award of fees, including reasonable attorney
fees and expenses, to a prevailing party upon proper application, unless the
Government’s contrary position was substantially justified, or special circumstances make
an award unjust.”); Libas, Ltd. v. United States, 314 F.3d 1362, 1365 (Fed. Cir. 2003);
Yang v. United States, 156 Fed. Cl. at 5.

       Section 2412(b) of the EAJA statute states:

       Unless expressly prohibited by statute, a court may award reasonable fees
       and expenses of attorneys, in addition to the costs which may be awarded
       pursuant to subsection (a), to the prevailing party in any civil action brought
       by or against the United States or any agency or any official of the United
       States acting in his or her official capacity in any court having jurisdiction.
       The United States shall be liable for such fees and expenses to the same
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      extent that any other party would be liable under the common law or under
      the terms of any statute which specifically provides for such an award.

28 U.S.C. § 2412(b).4

      The EAJA statute further provides that reasonable fees and expenses shall be
awarded to the prevailing party “unless the court finds that the position of the United
States was substantially justified or that special circumstances make an award unjust.”
28 U.S.C. § 2412(d)(2)(A). Also, the EAJA statute provides that

      “fees and other expenses” includes the reasonable expenses of expert
      witnesses, the reasonable cost of any study, analysis, engineering report,
      test, or project which is found by the court to be necessary for the
      preparation of the party's case, and reasonable attorney fees (The amount
      of fees awarded under this subsection shall be based upon prevailing
      market rates for the kind and quality of the services furnished, except that
      (i) no expert witness shall be compensated at a rate in excess of the highest
      rate of compensation for expert witnesses paid by the United States; and
      (ii) attorney fees shall not be awarded in excess of $125 per hour unless the
      court determines that an increase in the cost of living or a special factor,
      such as the limited availability of qualified attorneys for the proceedings
      involved, justifies a higher fee.).

Id.

      Courts have considerable discretion to determine what level of attorneys’ fees are
reasonable and the number of hours which should be compensated. See Comm’r, I.N.S.
v. Jean, 496 U.S. at 161. The United States Supreme Court provided the prevailing
guidance:

      There is no precise rule or formula for making these determinations [for fee
      awards]. The district court may attempt to identify specific hours that should
      be eliminated, or it may simply reduce the award to account for the limited
      success. The court necessarily has discretion in making this equitable
      judgment.

Hensley v. Eckerhart, 461 U.S. 424, 436–37 (1983) (alteration added); see also Comm’r
v. Jean, 496 U.S. at 161 (quoting Hensley v. Eckerhart, 461 U.S. at 437) (“In Hensley, we
emphasized that it is appropriate to allow the district court discretion to determine the
amount of a fee award, given its ‘superior understanding of the litigation and the


4 Prior to EAJA, certain statutes had contained specific waivers of sovereign immunity for
the United States. See Gavette v. Office of Pers. Mgmt., 808 F.2d at 1460. Section 2412
of the EAJA statute was enacted to provide a more “uniform rule” which would “make
such specific exceptions unnecessary.” Gavette v. Office of Pers. Mgmt., 808 F.2d at
1460 (citing 28 U.S.C. § 2412 (Historical and Statutory Notes)).
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desirability of avoiding frequent appellate review of what essentially are factual matters.’
The EAJA prescribes a similar flexibility.”). The United States Court of Appeals for the
Federal Circuit has applied the Hensley approach in EAJA cases. See Hubbard v. United
States, 480 F.3d 1327, 1332–33 (Fed. Cir. 2007) (“The trial court has considerable
discretion in determining reasonable attorney fees.”); see also Former Emps. of Motorola
Ceramic Prods. v. United States, 336 F.3d 1360, 1364 (Fed. Cir.), reh’g and reh’g en
banc denied (Fed. Cir. 2003); RAMCOR Servs., Grp., Inc. v. United States, 185 F.3d
1286, 1290 (Fed. Cir. 1999) (“The trial judge enjoys considerable discretion to determine
eligibility for an EAJA award.”); Yang v. United States, 156 Fed. Cl. at 5 (“[t]he court
retains discretion to ‘reduce the amount to be awarded [pursuant to this subsection, or
deny an award,] to the extent that the prevailing party during the course of the
proceedings engaged in conduct which unduly and unreasonably protracted the final
resolution of the matter in the controversy.” (quoting 28 U.S.C. § 2412(d)(1)(C)) (alteration
added); Quimba Software, Inc. v. United States, 140 Fed. Cl. 624, 629 (2018); Info. Scis.
Corp. v. United States, 88 Fed. Cl. 626, 633 n.3 (2009) (explaining that Hensley has been
applied by the Federal Circuit in EAJA cases). Moreover, the court should not award fees
“to the extent that the applicant ultimately fails to prove justification for each item of fee
claimed[.]” Fritz v. Principi, 264 F.3d 1372, 1377 n.1 (Fed. Cir. 2001).

       Protestor as the Prevailing Party

         The United States Supreme Court has stated that “plaintiffs may be considered
‘prevailing parties' for attorney’s fees purposes if they succeed on any significant issue in
litigation which achieves some of the benefit the parties sought in bringing suit.” Hensley
v. Eckerhart, 461 U.S. at 433 (quoting Nadeau v. Helgemoe, 581 F.2d 275, 278–79 (1st
Cir. 1978)); see also Brewer v. Am. Battle Monuments Comm'n, 814 F.2d 1564, 1567–69
(Fed. Cir. 1987). According to the Supreme Court, “the term ‘prevailing party’ in fee
statutes is a ‘term of art’ that refers to the prevailing litigant.” Astrue v. Ratliff, 130 S. Ct.
2521, 2525 (2010); see also Buckhannon Bd. and Care Home, Inc. v. W. Va. Dep’t of
Health and Human Res., 532 U.S. at 603. “[T]he ‘touchstone of the prevailing party inquiry
must be the material alteration of the relationship of the parties.’” CRST Van Expedited,
Inc. v. E.E.O.C., 578 U.S. 419, 422 (2016). The Federal Circuit has indicated in an EAJA
analysis, “[a] party prevails in a civil action if he receives ‘“at least some relief on the
merits of his claim.”’” Robinson v. O’Rourke, 891 F.3d at 980; Davis v. Nicholson, 475
F.3d at 1363 (quoting Buckhannon Bd. and Care Home, Inc. v. W. Va. Dep’t of Health
and Human Res., 532 U.S. at 603–04 (quoting Hewitt v. Helms, 482 U.S. 755, 760
(1987))); but see CRST Van Expedited, Inc. v. E.E.O.C., 578 U.S. at 431–32 (holding that
“a defendant need not obtain a favorable judgment on the merits in order to be a
‘prevailing party.’”); Raniere v. Microsoft Corp., 887 F.3d 1298, 1306 (Fed. Cir. 2018)
(“The relevant inquiry . . . then, is not limited to whether a defendant prevailed on the
merits, but also considers whether the district court’s decision—‘a judicially sanctioned
change in the legal relationship of the parties’—effects or rebuffs a plaintiff’s attempt to
effect a ‘material alteration in the legal relationship between the parties.’”) (alteration
added).

       In their request for EAJA fees, AGMA’s attorneys quoted the AGMA I Opinion at

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length to “establish AGMA as the prevailing party, and explain why (AGMA believes) the
actions under review [by the defendant] were not substantially justified.” (alteration
added). Defendant does not dispute or respond to AGMA’s assertion that it was the
prevailing party in AGMA I, 152 Fed. Cl. 125. As indicated above, in AGMA I, this court
issued an Opinion, which granted AGMA’s motion for judgment on the Administrative
Record and enjoined the contract award to Ranger. See id. at 174. This court determined
that “[t]aken as a whole, the actions taken by the contracting officer after the corrective
action are considered by the court to be arbitrary and capricious.” Id. at 170. The court
also found that AGMA had been prejudiced by FEMA’s actions because the “best value
trade-off analysis demonstrates that there was a substantial chance of AGMA receiving
the award, but for errors in the procurement process.” See id. at 172.

        Therefore, because this court determined that FEMA acted without a rational basis
when it awarded the contract to Ranger after taking corrective action and the court issued
a permanent injunction of the award, AGMA qualifies as a “prevailing party.” In the request
for attorneys’ fees currently before the court, protestor received “‘“at least some relief on
the merits of [its] claim.”’” Davis v Nicholson, 475 F.3d at 1363 (alteration added) (quoting
Buckhannon Bd. and Care Home, Inc. v. W. Va. Dep’t of Health and Human Res., 532
U.S. at 603–04 (quoting Hewitt v. Helms, 482 U.S. at 760)); see also Martinez v. United
States, 94 Fed. Cl. 176, 181 (2010).

       The Government was not Substantially Justified

        “Pursuant to the EAJA, a ‘prevailing party’ in litigation against the government is
entitled to recover reasonable attorney fees and expenses unless the court finds the
position of the United States in the underlying litigation was ‘substantially justified.’”
Padgett v. Shinseki, 643 F.3d 950, 953 (Fed. Cir. 2011) (quoting 28 U.S.C.
§ 2412(d)(1)(A)). After a protestor’s attorney requesting attorneys’ fees and costs
demonstrates it is the prevailing party, EAJA requires that the government’s position
viewed over the entire course of the dispute was not substantially justified. See 28 U.S.C.
§ 2412(d)(1)(B). “The burden of establishing ‘that the position of the United States was
substantially justified,’ § 2412(d)(1)(A) indicates and courts uniformly have recognized,
must be shouldered by the Government.” Scarborough v. Principi, 541 U.S. at 414 (citing
Pierce v. Underwood, 487 U.S. 552, 567 (1988); Davidson v. Veneman, 317 F.3d 503,
506 (5th Cir. 2003); Lauer v. Barnhart, 321 F.3d 762, 764 (8th Cir. 2003)); Libas, Ltd. v.
United States, 314 F.3d at 1365); see also Comm'r v. Jean, 496 U.S. at 165. (“The
‘substantial justification’ requirement of the EAJA establishes a clear threshold for
determining a prevailing party’s eligibility for fees, one that properly focuses on the
governmental misconduct giving rise to the litigation.”); White v. Nicholson, 412 F.3d
1314, 1315 (Fed. Cir.), reh’g and reh’g en banc denied (Fed. Cir. 2005), cert. denied, 547
U.S. 1018 (2006); Doty v. United States, 71 F.3d 384, 385 (Fed. Cir. 1995); Cmty. Heating
& Plumbing Co. v. Garrett, 2 F.3d 1143, 1145 (Fed. Cir. 1993) (“The burden is on the
government to present a substantial justification for its actions.”); Gavette v. Office of
Pers. Mgmt., 808 F.2d at 1465–66; Superior Optical Labs, Inc. v. United States, 157 Fed.
Cl. 140, 146 (2021) (quoting WHR Grp., 121 Fed. Cl. 673, 677 (2015)) (“[W]hen ‘the
Government loses its case on the merits, it bears the burden of showing that its position

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was “substantially justified.”’”).

        Just because a trial court finds for a protestor and against the government,
however, does not mean the government’s position was not substantially justified. See
Pierce v. Underwood, 487 U.S. at 569 (“[T]he fact that one other court agreed or
disagreed with the Government does not establish whether its position was substantially
justified. Conceivably, the Government could take a position that is not substantially
justified, yet win; even more likely, it could take a position that is substantially justified,
yet lose.”); see also White v. Nicholson, 412 F.3d at 1316–17 (stating that the “substantial
justification” standard focuses on “the totality of the circumstances,” including, among
other things, the “merits, conduct, reasons given, and consistency with judicial
precedent”). The United States Supreme Court has indicated that “a position can be
justified even though it is not correct, and we believe it can be substantially (i.e., for the
most part) justified if a reasonable person could think it correct, that is, if it has a
reasonable basis in law and fact.” Pierce v. Underwood, 487 U.S. at 566 n.2; see also
Adkins v. United States, 154 Fed. Cl. 290, 300 (2021); Sharp v. United States, 91 Fed.
Cl. 798, 802 (2010). The Supreme Court also has stated that the meaning of “substantially
justified” is not “‘justified to a high degree,’ but rather ‘justified in substance or in the main’
- that is, justified to a degree that could satisfy a reasonable person.” See Pierce v.
Underwood, 487 U.S. at 565; see also Yang v. United States, 156 Fed. Cl. at 5. Also
according to the Supreme Court, to be substantially justified means “more than merely
undeserving of sanctions for frivolousness; that is assuredly not the standard for
Government litigation of which a reasonable person would approve.” Pierce v.
Underwood, 487 U.S. at 565–66 (footnote omitted).

        The United States Court of Appeals for the Federal Circuit in Gavette v. Office of
Personnel Management elaborated that “substantial justification is to be decided case-
by-case on the basis of the record,” and has held “‘substantial justification’ requires that
the Government show that it was clearly reasonable in asserting its position, including its
position at the agency level, in view of the law and the facts.” Gavette v. Office of Pers.
Mgmt., 808 F.2d at 1467 (emphasis in original); see also Blakley v. United States, 593
F.3d 1337, 1341 (Fed. Cir. 2010) (“In the context of EAJA claims, we have held that the
‘position of the United States’ in judicial proceedings refers to the United States’ position
‘throughout the dispute, including not only its litigating position but also the agency’s
administrative position.’”) (quoting Doty v. United States, 71 F.3d at 386). The trial court
is instructed to “look at the entirety of the government's conduct and make a judgment
call whether the government's overall position had a reasonable basis in both law and
fact.” Chiu v. United States, 948 F.2d at 715 (footnote omitted). Substantial justification
encompasses agency action, matters before the GAO, and protestor’s litigation in this
court. See Doty v. United States, 71 F.3d at 386.

       Based on the course of conduct by the agency during the procurement at issue,
as elaborated in the AGMA I Opinion, see generally AGMA I, 152 Fed. Cl. 125, which is
incorporated into this EAJA Opinion, the court finds that the actions by the agency during
the procurement process were not substantially justified, and, therefore, for the purposes
of considering the EAJA fees request submitted by the protestor’s attorneys, the second

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prong of the EAJA statute is satisfied. Moreover, the defendant has not argued that its
position during this litigation was substantially justified. See 28 U.S.C. § 2412(d)(1)(a).

       Special Circumstances

        The third EAJA requirement for a court to consider before attorneys’ fees should
be awarded is whether any special circumstances exist that would make an award of fees
to the protestor unjust. See 28 U.S.C. § 2412(d)(1)(A); see also 2M Rsch. Servs., LLC v.
United States, 148 Fed. Cl. at 104 (citing Meyer Grp., Ltd. v. United States, 129 Fed. Cl.
579, 588 (2016) (quoting S. Rep. No. 96-253, at 7 (1979))). “Defendant bears the burden
of establishing the existence of such special circumstances.” Sabo v. United States, 127
Fed. Cl. 606, 633 (2016), aff’d, 717 F. App’x 986 (Fed. Cir. 2017). The EAJA statute does
not explain what constitutes a special circumstance that would preclude the grant of
attorneys’ fees and expenses, but the United States Court of Appeals for the Federal
Circuit has indicated:

       This “safety valve” helps to insure [sic] that the Government is not deterred
       from advancing in good faith the novel but credible extensions and
       interpretations of the law that often underlie vigorous enforcement efforts. It
       also gives the court discretion to deny awards where equitable
       considerations dictate an award should not be made.

L.G. Lefler, Inc. v. United States, 801 F.2d 387, 389 (Fed. Cir. 1986) (alteration added);
see also Air Transp. Ass’n of Canada v. FAA, 156 F.3d 1329, 1333 (D.C. Cir. 1998) (“With
the scant guidance of the sparse legislative language and the snippet of history, courts,
have generally held that the statutory language expresses a congressional directive for
courts ‘to apply traditional equitable principles’ in determining whether a prevailing party
should receive a fee award under EAJA.”). “Courts look to equitable principles such as
the doctrine of ‘unclean hands’ in determining whether there are special circumstances
that would make an EAJA award unjust.” Greenhill v. United States, 96 Fed. Cl. 771, 778
(2011). For example, “EAJA awards have been found to be unjust when a plaintiff
purposefully takes advantage of government misconduct and subsequently challenges
the same misconduct.” Id. A Judge of the United States Court of Federal Claims in
Greenhill stated when addressing the special circumstances prong of the EAJA award
standard that:

       Improper conduct by an attorney may result in denial of EAJA fees when
       the attorney’s conduct creates the need for the litigation for which he is
       seeking payment. Webb v. Astrue, 525 F. Supp. 2d 1329, 1334 (N.D. Ga.
       2007) (denying attorneys’ fees because plaintiff's counsel failed to raise an
       issue before an administrative law judge that ultimately resulted in litigation
       for which the attorney sought fees); Wimpy v. Barnhart, 350 F. Supp. 2d
       1031, 1036 (N.D. Ga. 2004) (denying attorney’s fees when plaintiff’s
       attorney successfully obtained a remand to consider an expert opinion, but
       attorney’s own negligence in failing to timely disclose expert’s opinion


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       resulted in the remand). In other words, an attorney cannot receive fees
       when the case was only in court due to the attorney's own improper conduct.

Greenhill v. United States, 96 Fed. Cl. at 778.

       In the protest before the court, AGMA’s attorneys argue that there are no
extraordinary or special circumstances in AGMA Security Service, Inc. v. United States,
Case No. 20-926C, that would justify not awarding attorneys’ fees to the attorneys.
Defendant, however, argues as to the request for fees related to the appeal, brought by
Ranger, that:

       In this instance, because the United States did not appeal the Court’s
       judgment, “special circumstances” exist that would make award of appellate
       fees unjust. See 28 U.S.C. § 2412(d)(1)(A). The Court should exclude the
       31.8 hours spent on the appeal, in which the United States was not a party,
       for a total of $6,974.06.

Defendant did not raise the special circumstances as a defense to the fees requested by
AGMA’s attorneys other than the fees incurred during the appeal process. As indicated
above, the defendant bears the burden of establishing the existence of special
circumstances that would preclude the award of attorneys’ fees to AGMA. The sum total
of defendant’s argument for special circumstances are the two sentences cited
immediately above. Regarding the protestor’s attorneys’ request for attorneys’ fees for
work on the appeal, the record demonstrates that Ranger appealed this court’s judgment
in AGMA Security Service, Inc. v. United States, Case No. 20-926C, to the United States
Court of Appeals for the Federal Circuit. Ultimately, the Federal Circuit dismissed the
appeal “[u]pon consideration of Ranger American of Puerto Rico, Inc.’s unopposed
motion to voluntarily dismiss this appeal pursuant to Rule 42(b) of the Federal Rules of
Appellate Procedure[.]” AGMA Sec. Serv., Inc. v. United States, No. 2021-1716, 2021 WL
4059806, at *1 (Fed. Cir. Sept. 1, 2021).

        The court, however, does not find defendant’s argument persuasive for several
reasons. First, defendant asserts that it was not a party to Ranger’s appeal to the Federal
Circuit, but the docket for the appeal indicates that the United States Department of
Justice did file an entry of appearance in the Federal Circuit on June 8, 2021 on behalf of
the United States. In addition, the United States submitted two motions for extensions of
time on June 8, 2021 and June 11, 2021 “within which to file a response to the Court’s
invitation to respond to two motions to dismiss.” Defendant also submitted a filing titled:
“Bresponse [sic] to the Court’s Order to Respond to the Two Motions to Dismiss” on June
23, 2021, in which defendant argued that Ranger’s “appeal is moot because there is no
meaningful relief the court can order under the specific circumstances of the case,” and
that the “proper remedy is to remand with instructions to vacate the injunction and dismiss
the complaint.” Further, defendant, having entered a noncompliant notice of entry on June
8, 2021 as intervenor in the Federal Circuit appeal, filed a corrected entry of appearance
on June 11, 2021. Defendant’s argument that it was not a participant in the Ranger appeal
is without merit because, upon appeal, the defendant was listed as “defendant” and

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submitted a substantive brief.5 Defendant’s brief argument in this court, without much
explanation or analysis,6 that a “special circumstance” exists under EAJA regarding
protestor’s attorneys’ fee request for work on the appeal that would render the award of
attorneys’ fees “unjust” is rejected by the court. Defendant’s and AGMA’s attorneys
continued to protect their clients’ interests and were obligated to respond to court orders
once they entered notice of appearance during the appeal. The court has carefully
reviewed AGMA’s attorneys’ performance for “special circumstances,” which could bar
recovery and has found nothing which rises to the level of behavior which should bar
recovery of appropriately claimed attorneys’ fees due to special circumstances. Based on
a review of the record, given that no special circumstances existed that would make the
award of EAJA fees unjust, the court proceeds to review the details of AGMA’s attorneys’
renewed EAJA fees request for $39,774.44 in attorneys’ fees and $400.00 in costs.

      Filing Requirement

       The fourth EAJA requirement to receive attorneys’ fees under EAJA is that the fees
request must be submitted within thirty days of final judgment and supported by an
itemized statement. See 28 U.S.C. § 2412(d)(1)(B); see also Scarborough v. Principi, 541
U.S. at 407–08; Impresa Construzioni Geom. Domenico Garufi v. United States, 531 F.3d
1367, 1369 (Fed. Cir. 2008). Defendant argues generally that “AGMA has failed to
demonstrate that any of the fees or expenses that it seeks were ‘incurred’ by it, as
required by EAJA.” (Citing 28 U.S.C. § 2412(d)(1)(A)). Defendant states:

      Although AGMA’s lawyers provide itemized billable hours statements and a
      certification that AGMA’s net worth is less than $2 million, 28 U.S.C.
      § 2412(d)(2)(B), Exch. 2, it fails to provide any representation agreements,
      invoices/bills that AGMA’s attorneys have sent to it, or any evidence that
      AGMA has any obligation to pay the attorneys should it be awarded any
      EAJA fees.

      In Phillips, the Federal Circuit held that fees were not “incurred” within the
      meaning of EAJA simply because they were incurred on behalf of the
      prevailing party. 924 F.2d at 1583. Rather, the Federal Circuit held that “to
      be ‘incurred’ within the meaning of a fee shifting statute, there must also be
      an express or implied agreement that the fee award will be paid over to the
      legal representative.” Id.

      AGMA has not demonstrated that it is obligated to turn over any EAJA


5At the appeal in the Federal Circuit, Case No. 2021-1716, AGMA was listed as “Plaintiff-
Appellee” and Ranger was listed as “Defendant-Appellant.”
6 Defendant, quoting Ardestani v. I.N.S., also asserts that “EAJA is only a partial waiver
of sovereign immunity and any such waiver ‘must be strictly construed in favor of the
United States,’” but does not develop that assertion with respect to AGMA’s attorneys’
request for fees. See Ardestani v. I.N.S., 502 U.S. 129, 137 (1991).
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       award to its counsel (or that it has already paid the fees and expenses
       claimed). AGMA has not provided any representation agreement(s) with its
       attorneys, nor did it provide any other evidence of the terms of any
       agreement with its counsel. Accordingly, the Court may not award AGMA
       any fees and expenses.

       AGMA’s attorneys respond:

       Incurred. As to whether these fees were “incurred,” as a threshold matter, it
       probably is within the Court’s ability to take judicial notice of the fact that,
       pro bono work aside, attorneys do not work for free. This is not a fact that
       is “subject to reasonable dispute.” Fed. R. Evid. 201.

       Second, the EAJA application states, under oath, that Mr. Grayson’s hourly
       rate for this work was $750, and Mr. Fuertes’s was $200. EAJA App. at 13.
       There is no evidence in the record to the contrary.

       Third, EAJA is quite specific about how to establish when fees are incurred
       and whether they are reasonable, i.e., “an itemized statement from any
       attorney [or expert witness] representing or appearing in [sic] behalf of the
       party stating the actual time expended and the rate at which fees are other
       expenses were computed.” The Defendant does not dispute that AGMA has
       complied with this requirement. If Congress had wanted to add a
       requirement that retainer agreements or payment records be added, it
       would have done so. It is one of the basic canons of statutory interpretation
       that “[n]othing is to be added to the text.” A. Scalia and B Garner, Reading
       Law: The Interpretation of Legal Texts 93 (2012).

       Fourth, controlling precedent is quite clear that an EAJA award for
       attorney’s fees is based on the services “actually rendered,” not the services
       retained, billed or paid. Phillips v. Gen. Servs. Admin., 924 F.3d 1577, 1583
       (Fed. Cir. 1991), citing Cornella v. Schweiker, 728 F.2d 978, 985–87 (8th
       Cir. 1984).

(emphasis in original; footnote omitted; first alteration added). AGMA’s attorneys also
disagree with defendant’s reading of Phillips, arguing that the case “actually did grant
EAJA attorney’s fees, in the full amount permitted by EAJA, for all the attorney hours
actually spent, notwithstanding the fact that that was a contingent-fee case” (citing Phillips
v. Gen. Servs. Admin., 924 F.2d at 1582) (emphasis in AGMA’s brief).

       Mr. Grayson was the attorney of record and Mr. Fuertes was local counsel in the
AGMA bid protest, Case No. 20-926C. There is no indication in the record that Mr.
Grayson or Mr. Fuertes worked on the AGMA protest as pro bono counsel. Admittedly,
the request for attorneys’ fees is not as detailed as it could have been, but as discussed
below, the details describing work performed are sufficient in the court’s view to receive
awards of attorneys’ fees for some, but not all, of the fee requests submitted. The

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statements by AGMA’s counsel throughout the litigation and about the hourly rates of the
attorneys and work performed sufficiently suggests that counsel charged AGMA for their
services. AGMA’s counsel deserves payment for much of the work submitted for payment
and defendant has not offered support for its allegations. Mr. Grayson, counsel of record
in AGMA Security Service, Inc. v. United States, Case No. 20-926C, in particular, was
active and visible throughout AGMA’s bid protest case by signing the complaint,
submitting briefs, attending conferences, and presenting argument on behalf of AGMA.
As for Mr. Fuertes, Mr. Grayson indicated during case proceedings that Mr. Fuertes was
working with him on the protest. Moreover, the fees requested were timely submitted
within thirty days of final judgment and both counsel included an itemization of their fee
requests and the costs they claimed. The court finds that AGMA has met the basic filing
requirements. The details of the validity of the specific itemized attorneys’ fee requests
are discussed below.

       Eligibility Requirements

        The EAJA statute also requires a party to meet certain eligibility requirements to
qualify for EAJA compensation. The client for which the attorneys request EAJA fees must
be an owner of an unincorporated business, or any partnership, corporation, association,
unit of local government, or organization, the net worth of which did not exceed
$7,000,000.00 at the time the civil action was filed and must not have had more than 500
employees at the time the civil action was filed. See 28 U.S.C. § 2412(d)(2)(B)(ii).
Alternatively, a party can be “an individual whose net worth did not exceed $2,000,000.00
at the time the civil action was filed.” 28 U.S.C. § 2412(d)(2)(B)(i). Thus, “‘[t]o qualify as a
prevailing party, [protestor] must satisfy the eligibility requirements of both net worth and
number of employees.’” Al Ghanim Combined Grp. v. United States, 67 Fed. Cl. 494, 498
(2005) (alteration added) (quoting Lion Raisins, Inc. v. United States, 57 Fed. Cl. 505,
511 (2003)); see also Missouri Pac. Truck Lines, Inc. v. United States, 746 F.2d 796,
797–98 (Fed. Cir. 1984); Fields v. United States, 29 Fed. Cl. 376, 382 (1993), aff’d, 64
F.3d 676 (Fed. Cir. 1995).

         In this case, AGMA’s Chief Executive Officer, Edgardo Toro, submitted a
declaration with AGMA’s attorneys’ request for attorneys’ fees that, on behalf of himself
and Mr. Fuertes, which indicated that AGMA was “a corporation with a net worth that did
not exceed $7,000,000.00 when Case No. 20-926C was filed. AGMA had fewer than 500
employees at the time that civil action was filed.” Protestor’s attorneys also submitted with
their request for attorneys’ fees a statement from Antonio F. Secola, a certified public
accountant, in which Mr. Secola declared that, on the date that Case No. 20-926C was
filed, July 29, 2020, protestor’s net worth was under $4,100,000.007 and had fewer than
500 employees. Moreover, defendant has not contested that AGMA meets these EAJA
eligibility requirements. The court concludes, therefore, that AGMA has met the EAJA


7 Defendant errs when it indicates that to recover fees under EAJA, “the plaintiff, an
individual, had a net worth that did not exceed $2 million,” and then states that “AGMA’s
lawyers provided itemized billable hours statements and a certification that AGMA’s net
worth is less than $2 million, 28 U.S.C. § 2412(d)(2)(B).”
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eligibility requirements to be eligible to be reimbursed for appropriate attorneys’ fees.


       Specific Dollar Requests Submitted by the Attorneys

        As indicated above, after this court issued AGMA I, 152 Fed. Cl. 125, AGMA’s
attorneys submitted an initial EAJA fees request, which this court dismissed as premature
due to the pending Ranger appeal in the United States Court of Appeals for the Federal
Circuit. Following Ranger’s unsuccessful and completed appeal, discussed in greater
detail below, AGMA’s attorneys timely filed a renewed fees EAJA request, which includes
the hours claimed in the initial fees request as well as an additional 1.3 hours for time
spent updating the initial EAJA fees request. In their renewed EAJA fees request, AGMA’s
attorneys request $37,800.65 in attorneys’ fees and for a $400.00 filing fee. In addition,
AGMA’s attorneys submitted a reply brief in which they request an additional $1973.79 in
attorneys’ fees for time spent litigating the EAJA fee requests. In total, AGMA’s attorneys
request $39,774.44 in attorneys’ fees and $400.00 in costs for a total of 40,174.44.
AGMA’s attorneys’ renewed request for EAJA fees states:

       Subject to the statutory cap, the “guiding light” of fee-shifting jurisprudence
       is “the product of reasonable hours times a reasonable rate.” Starry
       Associates, Inc. v. United States, 892 F.3d 1372, 1382, 62 CCF ¶ 81,418
       (Fed. Cir. 2018). Mr. Grayson’s actual hours are set forth in the Appendix
       below, and Mr. Fuertes’ actual hours are set forth in Ex. B. As noted in
       Starry, id., the Court can adjust these hours upward, in the fee award:

              A prevailing party can recover an increased fee award through
              an increase in the reasonable number of hours, not just
              through a corresponding increase in the reasonable fee rate.

       Id. Such an upward adjustment from actual hours, is hence, within the
       Court’s discretion. The Court may also, subject to the statutory cap,
       “enhance” the hourly rate. Id.

       The Complaint also requests costs, which the Court expressly can award
       under 28 U.S.C. § 2412, inter alia. AGMA respectfully requests award of
       such costs, i.e., the court filing fee of $400, as supported below.

       This request, if calculated with the fee cap adjusted for inflation, and with
       no upward adjustment of hours or rates, totals $38,200.65, as follows.

(emphasis in original). AGMA’s attorneys both request a cost adjustment for
billable attorneys’ fees for inflation, stating:

       The recovery of attorney’s fees under 28 U.S.C. § 2412(d) is subject to the
       adjustable $125 an hour cap under 28 U.S.C. § 2412(d)(2)(A). AGMA
       requests the increase for cost of living, which raises the attorney’s fee

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         ceiling to $219.31 based on the CPI-U [Consumer Price Index for All Urban
         Consumers] for the Northeast, i.e., $125.00 x 285.63 / 162.8. Mr. Fuertes’
         hourly rate, at $200 per hour, is below this inflation-adjusted cap. Mr.
         Grayson’s hourly rate, at $750 per hour, is above it.

(alteration added).

      The summary for the request for fees by the AGMA attorneys in their EAJA fees
request is as follows:

      Attorney or Item     Hours/Quantity       Capped Rate/Cost            TOTAL
    Alan Grayson         138.5                 $219.31                $30,374.43
    Alberto Fuertes      47.0                  $200.00                $9,400.00
    Filing Fee           1                     $400.00                $400.00

In addition, Mr. Grayson submitted a reply brief in support of his EAJA fees request, in
which he claims an additional 9 hours of work for time he spent litigating the EAJA fees
request at the capped rate of $219.31 for a total of $1,973.79. In total, Mr. Grayson claims
138.5 hours in the renewed EAJA fees request and in his reply brief, and Mr. Fuertes
claims 47.0 hours of time. Both attorneys together request a total of 185.5 hours.

       While not objecting to the rates to be applied, the defendant objects to some of
AGMA’s attorneys’ specific fee requests on the following grounds: (1) the local counsel’s
records are generally insufficiently detailed, (2) records before drafting the complaint
should be excluded, (3) records for the supplemental brief should be excluded,8 (4) the
time AGMA spent on briefing the opposition to the defendant’s successful motion to
dismiss the premature EAJA application should be excluded, (5) because the United
States did not appeal the court’s judgment in AGMA Security Service, Inc. v. United
States, Case No. 20-926C, the court should exclude $6,974.06 in fees for Mr. Grayson
related to Ranger’s appeal to the Court of Appeals for the Federal Circuit.

         1.     Cost of Living Adjustment

        “The EAJA allows recovery of attorneys’ fees and expenses, subject to certain
limitations, including a cap on the hourly rate for fees. A statutory $125 per hour cap
applies to attorneys’ fees claims,” WHR Grp., Inc. v. United States, 121 Fed. Cl. at 679,
“unless the court determines that an increase in the cost of living or a special factor such
as the limited availability of qualified attorneys for the proceedings involved, justifies a
higher fee.” 28 U.S.C. § 2412(d)(2)(A)(ii); see also Q Integrated Co. v. United States, 133

8 Defendant uses the term “supplemental brief” to describe documents that Mr. Grayson
attempted to include in the Administrative Record for AGMA I,152 Fed. Cl. 125. These
included “various documents from unrelated bid protests at the Government
Accountability Office (GAO),” on different solicitations from the one at issue in AGMA I,
which Mr. Grayson stated he had worked to obtain “under the GAO’s version of the
Freedom of Information Act.””
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Fed. Cl. 479, 493 (2017); Infiniti Info. Solutions, LLC v. United States, 94 Fed. Cl. 740,
751 (2010); Cal. Marine Cleaning v. United States, 43 Fed. Cl. 724, 733 (1999) (“Cost of
living adjustments are specifically contemplated in the EAJA.”). It is within the court’s
discretion to apply a cost of living adjustment (COLA). See Dallas Irrigation Dist. v. United
States, 91 Fed. Cl. 689, 705 (2010). As explained by a Judge of this court:

       A COLA is generally permitted “as a reflection of the increase in the cost of
       living from the effective date of the statutory cap to the date legal services
       were rendered.” See Cal. Marine Cleaning, 43 Fed. Cl. at 733. Although a
       COLA is awarded at the Court's discretion, “justification for such award is
       self-evident if the applicant alleges that the cost of living has increased, as
       measured by the Department of Labor’s Consumer Price Index (‘CPI’),” id.,
       so long as the applicant “suppl[ies] the Court with relevant CPI data.” Infiniti
       Info. Sols., LLC v. United States, 94 Fed. Cl. 740, 751 (2010). Where a
       plaintiff successfully shows an increase in the cost of living, this Court has
       regularly held that a COLA “should be freely granted.” WHR Grp., Inc. v.
       United States, 121 Fed. Cl. 673, 679 (2015) (citing United Partition Sys. v.
       United States, 95 Fed. Cl. 42, 58 (2010)).

2M Rsch. Servs., LLC v. United States, 148 Fed. Cl. at 108.

       In order to calculate the appropriate COLA, the Judge in 2M Research Services,
LLC v. United States explained that “[c]ourts have routinely calculated a COLA by
multiplying EAJA’s $125 hourly cap by the applicable CPI [consumer price index] and
then dividing that product by $155.7 which is the CPI for March 1996, when the cap was
raised from $75 to $125.” Id. (alteration added) (citing Cal. Marine Cleaning v. United
States, 43 Fed. Cl. at 733–34 and Contract with America Advancement Act of 1996, Pub.
L. No. 104-121 § 232(b)(1), 110 Stat. 847, 863); see also Q Integrated Co. v. United
States, 133 Fed. Cl. at 493. To determine which CPI multiplier should apply, the Judge in
2M Research Services explained:

       In determining which CPI is applicable to a given award, the Federal Circuit
       has endorsed the use of “a single mid-point inflation adjustment factor
       applicable to services performed before and after that mid-point.” Lion
       Raisins, 57 Fed. Cl. at 519 (citing to Chiu v. United States, 948 F.2d 711,
       722 n. 10 (Fed. Cir. 1991)); see also WHR Grp, 121 Fed. Cl. at 679. “Under
       the ‘mid-point’ method, the Court determines the ‘month that lies at the mid-
       point between the first and last month for which attorneys’ fees are being
       awarded,’ and uses the CPI for that ‘mid-point’ month as the basis for the
       cost of living adjustment to the statutory cap.” WHR Grp., 121 Fed. Cl. at
       679 (citing DGR Assocs., Inc. v. United States, 97 Fed. Cl. 214, 221 (2011),
       rev’d on other grounds, 690 F.3d 1335 (Fed. Cir. 2012)). The formula for
       calculating a COLA adjustment is as follows:


                               $125 x Relevant CPI Month

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                                $155.7 (March 1996 CPI)


      See Lion Raisins, 57 Fed. Cl. at 520 n.19 (utilizing the above formula to
      establish attorneys’ fees).

2M Rsch. Servs., LLC v. United States, 148 Fed. Cl. at 108.

        Relying on the Department of Labor’s Bureau of Labor Statistics Data and the
Consumer Price Index (CPI), the AGMA attorneys’ fees submission states “AGMA
requests the increase for the cost of living, which raises the attorney’s fee ceiling to
$219.31 based on the CPI-U for the Northeast, i.e., $125.00 x 285.63 / 162.8.” AGMA’s
attorney of record, Mr. Grayson, however, does not provide justification as to why the rate
for the Northeast is appropriate for him. Mr. Grayson is listed on his submissions to this
court as located in Windemere, Florida, which, according to the Bureau of Labor
Statistics, is located in the Southeast Region.

        As noted above, the appropriate CPI multiplier to use is the mid-point of the
services provided. See id. Mr. Grayson does not indicate the months or the timeframe
that he used to determine the applicable CPI month. Mr. Grayson’s first entry of time is
listed as May 19, 2020. As discussed below, however, Mr. Grayson’s first compensable
fee request under EAJA, is on June 23, 2020. Mr. Grayson’s last compensable entry of
time submitted was on September 17, 2021. There were 451 days between June 23,
2020 and September 17, 2021. The mid-point, or 225.5 days after June 23, 2020 is
February 3, 2021. Accordingly, the court uses the CPI from February 2021 to calculate
the COLA adjustment for Mr. Grayson’s rate per hour. The CPI calculation should be $125
(statutory cap) x 253.39 (CPI for the Southeast region for February 2021) / 155.7 (March
1996 CPI) = $203.43 per hour. For Mr. Grayson’s hours, the court finds a reasonable rate
of compensation for Mr. Grayson is $203.43.

      Mr. Fuertes, local counsel for AGMA, states in his declaration that he is located in
Hato Ray, in the municipality of San Juan, Puerto Rico. Mr. Fuertes states:

      My standard hourly rate for legal work is $200 per hour. This is consistent
      with the market rate for experienced business lawyers in the San Juan
      metropolitan area.

              Regarding what constitutes a “reasonable rate,” the only relevant
      information of which I am aware is a survey of attorneys conducted by the
      Economic Research Institute. It indicates that the average salary (not billing
      rate) for lawyers in Puerto Rico is $57 per hour. In my experience, as a rule
      of thumb, billing rates are approximately four times salaries. The equivalent
      billing rate would be $228 per hour.

The court applies the same base formula for calculating an appropriate COLA adjustment
for Mr. Fuertes. Mr. Fuertes’ first compensable time entry is on July 2, 2020 and his last

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compensable time entry is on December 29, 2020. There were 180 days between July 2,
2020 and December 29, 2020. The mid-point, or 90 days after July 2, 2020 and 90 days
before December 29, 2020 is September 30, 2020. Accordingly, the court uses the CPI
from September 2020 to calculate the COLA adjustment for Mr. Fuertes’ rate per hour.
According to the Bureau of Labor Statistics, Puerto Rico falls within the “Northeast
Region,” which means that the rate to be used in calculating the COLA for Mr. Fuertes is
the Northeast rate for September 2020, or $273.93. The calculations, therefore, are $125
(statutory cap) x 273.93 (CPI for the Northeast for October 2020) / 155.7 (March 1996
CPI) = $219.92. Mr. Fuertes has stated in his declaration that his rate is $200.00 an hour,
which is below the COLA adjusted fees allowed by EAJA. As such, for the reasonable
hours claimed by Mr. Fuertes, he is entitled to his regular rate of $200.00 an hour.

      2. Billable Time

       To determine which hours can be eligible and compensated as billable in response
to an EAJA request, a Judge of this court explained:

      In quantifying reasonable attorney’s fees, the Court must first start with “the
      number of hours reasonably expended on the litigation multiplied by a
      reasonable hourly rate.” Hubbard, 480 F.3d at 1332 (citing Hensley v.
      Eckerhart, 461 U.S. 424, 103 S. Ct. 1933, 76 L. Ed. 2d 40 (1983)). The
      Court may then either increase or decrease this amount “based on a
      number of factors, of which ‘the most critical factor is the degree of success
      obtained.’” Id. at 1332 (citing Hensley, 461 U.S. at 436, 103 S. Ct. 1933).
      Where the plaintiff has prevailed, “the fee award should not be reduced
      simply because the plaintiff failed to prevail on every contention raised in
      the lawsuit.” Hensley, 461 U.S. at 435, 103 S. Ct. 1933; see also Jean, 496
      U.S. at 163 n.10, 110 S. Ct. 2316 (Hensley standard of reasonableness of
      fees applies to EAJA); Sabo v. United States, 127 Fed. Cl. 606, 634 (2016),
      aff’d, 717 F. App’x 986 (Fed. Cir. 2017); Baldi Bros. Constructors v. United
      States, 52 Fed. Cl. 78, 82 (2002). Also, under the EAJA, the plaintiff’s
      attorney's fees award may be reduced if the plaintiff “unduly and
      unreasonably protracted the final resolution of the matter in controversy.”
      28 U.S.C. § 2412 (d)(1)(C).

Quimba Software, Inc. v. United States, 140 Fed. Cl. at 629–30.

        As discussed above, the government generally asserts that “the Court should
reduce the amount AGMA requests by $17,033.91, because the entries are not
sufficiently detailed.” The United States Supreme Court has stated that “Plaintiff’s
counsel, of course, is not required to record in great detail how each minute of his time
was expended. But at least counsel should identify the general subject matter of his time
expenditures.” Hensley v. Eckerhart, 461 U.S. at 437 n.12. “To be sure, ‘the fee applicant
bears the burden of establishing entitlement to an award and documenting the
appropriate hours expended and hourly rates.’” Rumsey v. Dep’t of Justice, 866 F.3d
1375, 1379 (Fed. Cir. 2017) (quoting Hensley v. Eckerhart, 461 U.S. at 437). “The
applicant should exercise ‘billing judgment’ with respect to hours worked, and should
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maintain billing time records in a manner that will enable a reviewing court to identify
distinct claims.” Hensley v. Eckerhart, 461 U.S. at 437 (internal citation and footnote
omitted). In Rumsey v. Department of Justice the Court of Appeals for the Federal Circuit
explained:

        Submission of invoices and billing records is how fee applicants routinely
        satisfy this burden of showing reasonable hours expended. See, e.g., Webb
        v. Bd. of Educ., 471 U.S. 234, 238 n.6, 105 S. Ct. 1923, 85 L. Ed. 2d 233
        (1985) (“Contemporaneously recorded time sheets are the preferred
        practice” over “a reconstruction of the hours . . . counsel spent on the
        matter.”). And, “[c]ourts customarily require the applicant to produce
        contemporaneous billing records or other sufficient documentation so that
        the district court can fulfill its duty to examine the application for
        noncompensable hours.” Gagnon v. United Technisource, Inc., 607 F.3d
        1036, 1044 (5th Cir. 2010) (quoting La. Power & Light Co. v. Kellstrom, 50
        F.3d 319, 324 (5th Cir. 1995)).

Rumsey v. Dep’t of Justice, 866 F.3d at 1379 (omission in original).

       With regard to the fees application currently before the court, defendant argues,
as to some of Mr. Grayson’s fee requests,

        although the EAJA application was filed under seal, Mr. Grayson’s records
        refer to the discussions with “[redacted],” and it is impossible to assess with
        whom Mr. Grayson was having discussion. Without more information, the
        Government cannot assess whether the time was related to filing the
        complaint in this Court.

                   Hours
 Date                      Description
                   Claimed

                               Discussed stop-work order & corrective action w/
     5/19/2020           0.3
                               [redacted].

     5/20/2020           0.4 Discussed corrective action response.

     6/23/2020           0.4 Rec’d T/C; discussed CFC judicial review w/ [redacted].

     6/27/2020           0.6 Discussed debriefing & protest options.
      7/3/2020           0.3 Advised [redacted] re legal options.

        7/8/2020         0.2 Discussed related decision with [redacted].


(capitalization and brackets in original). Although some of Mr. Grayson’s recorded time
entries do not provide great detail, Mr. Grayson’s time log submitted with his request for

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attorneys’ fees gives the court sufficient information to make a determination as to which
claimed entries are awardable, and which claimed entries should be denied. See Hensley
v Eckerhart, 461 U.S. at 437 n.12; Rumsey v. Dep’t of Justice, 866 F.3d at 1379. The fee
claims before June 15, 2020, the date of the contract award to Ranger in the above
captioned case, however, are not awardable because they were incurred prior to any
work performed on the complaint and case filed in AGMA Security Service, Inc. v. United
States, Case No. 20-926C.

      The government also asserts that the insufficient detail in the “time records
submitted for local counsel, Alberto Fuertes, is not excusable given that he made limited
appearances, including at the first status conference.” The government states:

       AGMA provides no basis upon which to attribute thousands of dollars in
       drafting briefs and legal research to Mr. Fuertes, with little, to no detail
       provided. Importantly, Mr. Fuertes also does not record communication with
       Mr. Grayson, who would have presumably directed him to perform legal
       research. Also some of Mr. Fuertes’s time records communicating with Mr.
       Grayson do not correlate or match to Mr. Grayson’s time records.

(internal citations omitted). Defendant’s broad assertion of no communication between
Mr. Fuertes and Mr. Grayson is not supported by the record in the attorneys’ request for
fee reimbursement in the above captioned protest. There are entries in the time logs
which reference communications between the two attorneys. The government’s assertion
that “Mr. Grayson did not even copy Mr. Fuertes on correspondence among the attorneys,
such as correspondence about redactions, the administrative record, supplementing
briefing, etc.,” that Mr. Fuertes’ recorded hours do not correspond with Mr. Grayson’s
records, and that the entries from Mr. Grayson between August 26, 2020 and September
1, 2020 “do not include any correspondence with Mr. Fuertes about the briefs or
research,” again are contradicted by the time logs. For example, Mr. Fuertes’ claim for
attorneys’ fees states:

 8/26/2020 Receive, read, and analyze Reply in              3.00          $600.00
           Support for Judgment; factual and legal
           research re: Reply.
 8/31/2020 Receive, read, and analyze Defendant             4.00          $800.00
           Reply in Support of Judgment; factual and
           legal research Re: Defendant Reply.
 9/1/2020 Receive, read, and analyze Defendant              3.00          $600.00
           Reply in Support of Its Cross Motion for
           Judgment; continued research.

(capitalization in original).


     The government further argues that the 5.5 hours that Mr. Fuertes recorded on
December 29, 2020 should be reduced to one hour. Mr. Fuertes reported that during

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those 5.5 hours, he was

         receiving, reviewing, analyzing, and explaining the sealed opinion to AGMA.
         In contrast, Mr. Grayson records one hour for reviewing the sealed opinion
         and discussing it with Mr. Fuertes. Indeed, the CM/EMF notification shows
         that the order was not distributed until 6:16 PM EST; thus, although Mr.
         Fuertes was not a CM/ECF recipient (he had to rely on Mr. Grayson
         distributing filings), he purports to have spent that entire evening on
         reviewing the sealed opinion.

(emphasis in original; internal citations omitted). The government argues that the entry
from December 29, 2020 should be reduced to one hour, “which was the amount of time
Mr. Grayson spent reviewing and communicating that opinion.” The government also
argues that the court should exclude certain hours submitted for Mr. Fuertes’ time logs
because he claims hours during which he states that he spoke to Mr. Grayson, but Mr.
Grayson’s log does not contain a corresponding entry. By way of example, defendant
observes that “on June 26, 2020, Mr. Fuertes records three hours for a ‘Telephone
Meeting with Mr. Edgardo Toro (president of AGMA) and attorney Alan Grayson re: FEMA
debriefing,’ at a cost of $600, but Mr. Grayson does not have a corresponding entry.”
According to Mr. Fuertes’ time log for attorney’s fees:

    8/11/2020 Telephone Call with attorney Alan              5.00          $1,000.00
              Grayson, Plaintiff. Received, Read and
              Analyzed Motion For Preliminary and
              Permanent Injunction; research Re:
              Motion.

(capitalization in original).

      In addition, the government argues that this court should remove the ten hours that
Mr. Fuertes attributed “to reviewing briefs and legal research, despite AGMA’s briefing
being completed by that point.” In total, the government argues that the court should
reduce Mr. Fuertes’ EAJA fees request from 47 hours ($9,400.00), by 19.5 hours
($3,900.00), to 27.5 hours for a total of $5,500.00.9

       Mr. Grayson responds that the government’s objections to certain of Mr. Fuertes’
time reports “misapprehends the actual role of Mr. Fuertes in this case, and the
relationship between his work and Mr. Grayson’s work.” Mr. Grayson argues that Mr.
Fuertes acted as a “bridge” between the court, Mr. Grayson, and “AGMA’s owner (and its
directors)” who “expected detailed status reports and ‘Q & A’ regarding this case.” Mr.
Grayson continues: “It was Mr. Fuertes’s regular practice to review the filings in the case

9 Defendant made a computational error in its response to AGMA’s attorneys’ request for
fees and expenses under EAJA and calculated that 19.5 hours of work at Mr. Fuertes’
hourly rate is equal to $4,100.00 when it is actually $3,900.00 (19.5 hours x $200.00 =
$3,900.00).
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after they were filed – sometimes, a number of days after they were filed, depending on
the press of other work – in order to perform this ‘bridge’ function properly.” As described
by Mr. Grayson to the court, Mr. Fuertes was acting as local counsel, a liaison, and
interpreter for a Spanish speaking client. Therefore, AGMA’s attorneys argue, “there is
no ‘one-to-one correspondence’ between the timing of Mr. Grayson’s work and the timing
of Mr. Fuertes’ work; the Defendant’s manufacturing of supposed ‘inconsistencies’ is not
well-taken.” The court also agrees that “[a]bsent some specific showing of abuse, the
Court will not second-guess counsel’s decision to use attorneys or paralegals for work
which counsel reasonably deemed suitable for such professionals.” First Fed. Savings
and Loan Ass’n of Rochester v. United States, 88 Fed. Cl. 572, 588 (2009). Mr. Grayson,
also states:

        The Defendant also attacks the time records of Mr. Fuertes, arguing that
        they do not track with certain filings and arguments in the case. This
        misapprehends the actual role of Mr. Fuertes in this case, and the
        relationship between his work and Mr. Grayson’s work. AGMA’s owner does
        not speak English; he speaks Spanish. Mr. Fuertes is very fluent in both
        English and Spanish. Therefore, whenever information was needed from
        AGMA relating to the case, Mr. Fuertes had to obtain it.

Indeed, attorneys have an ethical obligation to communicate with their clients. The court
finds hours spent by Mr. Fuertes communicating with the client are compensable.

       The court, however, finds that when Mr. Fuertes recorded that he was
communicating with Mr. Grayson on a call or at a meeting, when Mr. Grayson’s logs do
not have corresponding meeting entries, Mr. Fuertes’ entries should not be allowable. For
example, with regard to Mr. Fuertes’ claimed time entry on August 11, 2020, which lists
a “Telephone call with attorney Alan Grayson, Plaintiff. Received, read, and analyzed
motion for preliminary and permanent injunction; research re: motion,” the court denies
recovery for 30 minutes for the claimed telephone call with Mr. Grayson because there is
no corresponding entry in Mr. Grayson’s log. The court rejects Mr. Fuertes’ entries in
which he claims he was communicating with Mr. Grayson, but Mr. Grayson’s log does not
include a corresponding time entry, for a total of 8 hours for a value of $1,600.00. The
following time entries below for Mr. Fuertes are denied.


 Date          Time         Description
               Claimed
 6/26/2020     3.0          Telephone Meeting with Mr. Edgardo Toro (president of
                            AGMA) and attorney Alan Grayson re: FEMA debriefing

 7/8/2020      1.0          Telephone meeting w/ Attorney Alan Grayson re: COFC
                            Complaint; follow up

 7/23/2020     2.5          Telephone meeting and work with Alan Grayson and Plaintiff
                            re: Bid protest pre-filing notice and related documents

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 8/11/2020      0.5             Telephone call with attorney Alan Grayson, Plaintiff.
                                Received, read, and analyzed motion for preliminary and
                                permanent injunction; research re: motion

 9/14/2020      1.0             Telephone meeting with attorney Alan Grayson and plaintiff
                                re: Plaintiff’s supplemental brief

 Total          8

(capitalization in original).

        Regarding defendant’s arguments about the time during which Mr. Fuertes
reported that he was explaining or discussing matters with the client, the court finds that
it is reasonable for Mr. Fuertes to bill for the time to explain various legal matters to the
client, particularly, as Mr. Grayson pointed out that Mr. Fuertes was acting as local
counsel, a liaison, and interpreter for the Spanish speaking client. Regarding the hours
that Mr. Fuertes recorded for conducting research that defendant states are not
reasonable because there was no recorded time for coordinating with Mr. Grayson, the
absence of a corresponding entry does not establish that Mr. Fuertes was not conducting
that legal research or drafting documents. Mr. Grayson indicated during the proceedings
that research to assist Mr. Grayson was part of Mr. Fuertes’ role in the case. Moreover,
there is evidence of discourse and exchange of documents between Mr. Grayson and Mr.
Fuertes to support the attorneys’ request for work claimed by Mr. Grayson and Mr.
Fuertes in the protest. In sum, the court denies 8 of Mr. Fuertes’ claimed hours, which
brings Mr. Fuertes’ total reimbursable hours to 39 hours, yielding a fee of $7,800.00 as
reimbursement for Mr. Fuertes.

         AGMA’s attorneys also have made a claim for work regarding the GAO
proceedings and fee reimbursement requests for work done before the complaint in Case
No. 20-926C was filed. Defendant argues that records of work done before drafting and
filing the complaint in this case should be excluded. The United States Court of Appeals
for the Federal Circuit has held that “‘the Equal Access to Justice Act applies to civil
actions in federal courts, and does not encompass administrative agency actions.’”
Levernier Constr., Inc. v. United States, 947 F.2d 497, 501 (Fed. Cir. 1991) (quoting Blair
v. United States, 10 Cl. Ct. 614, 616 (1986)). Also, the Federal Circuit has indicated that
“the trial court, in its discretion, may award only those reasonable and necessary
expenses of an attorney incurred or paid in preparation for trial of the specific case before
the court, which expenses are those customarily charged to the client where the case is
tried.” Oliveira v. United States, 827 F.2d 735, 744 (Fed. Cir. 1987) (footnote omitted);
see also Superior Optical Labs. Inc. v. United States, 157 Fed. Cl. at 150 (quoting Cal.
Marine Cleaning, Inc. v. United States, 43 Fed. Cl. at 731–32); United Partition Sys., Inc.
v. United States, 95 Fed. Cl. 42, 56 (2010); Lion Raisins, Inc. v. United States, 57 Fed.
Cl. at 517; Cal. Marine Cleaning, Inc. v. United States, 43 Fed. Cl. at 731–32 (“The GAO
is a separate tribunal and protests filed in that forum are not “civil actions” within the ambit
of EAJA. Attorney fees and expenses incurred in litigation before the GAO thus may not

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be recovered under the EAJA.”). Therefore, fees incurred during Ranger’s protest of the
contract previously awarded to AGMA before the GAO or before an executive branch
agency are not recoverable as EAJA fees in this case, AGMA Security Service, Inc. v.
United States, Case No. 20-926C.

       The award to Ranger by the agency, which AGMA protested, was made on June
15, 2020. The complaint in the above captioned protest in this court, Case No. 20-926C,
for which counsel seeks fee reimbursement, was filed on July 29, 2020. The defendant
argues that

        [i]mmediately after FEMA initially awarded the contract to AGMA, Ranger
        protested that award to GAO. AGMA, 152 Fed. Cl. at 141 [Ranger American
        of Puerto Rico, Inc., B-418598.1 (Apr. 15, 2020)]. FEMA then took
        corrective action and made a new award decision, awarding to Ranger
        instead of AGMA. Id. at 141–42, 146. During the pendency of the GAO
        protest and new award evaluation, FEMA had issued a stop-work order to
        AGMA in May 2020. Id. On June 15, 2020, FEMA terminated for
        convenience the previously-awarded AGMA contract, on the same day it
        made award to Ranger. Id. at 146.

        As shown below, both Mr. Grayson and Mr. Fuertes include records in the
        EAJA application that pertain to the stop work order and FEMA’s proposed
        corrective action before the new award decision was made. Mr. Grayson’s
        records do not refer to drafting the pre-filing notice and complaint until July
        22, 2020, but Mr. Fuertes bills time allegedly attributable to the complaint
        on and before July 8, 2020. Also, on June 26, 2020, Mr. Fuertes records
        three hours for a “Telephone Meeting with Mr. Edgardo Toro (president of
        AGMA) and attorney Alan Grayson re: FEMA debriefing,” at a cost of $600,
        but Mr. Grayson does not have a corresponding entry.

(emphasis in original). Defendant includes the following excerpt from Mr. Fuertes’ request
for attorney’s fees:

 Date           Time    Description
                Claimed
 6/26/2020      3.00    Telephone Meeting with Mr. Edgardo Toro (president of
                        AGMA) and attorney Alan Grayson re: FEMA debriefing
 7/2/2020       0.25    Received and read email for attorney Alan Grayson Re: Court
                        of Federal Claims Complaint
 7/3/2020       3.50    Telephone Meeting with AGMA directors (Sr. Edgardo Toro
                        and Hector Agosto) Re: Court of Federal Claims Complaint
 7/3/2020       1.50    Received and read email/Complaint from attorney Alan
                        Grayson Re: Court of Federal Claims Complaint
 7/8/2020       1.00    Telephone Meeting with attorney Alan Grayson Re: Court of
                        Federal Claims Complaint; follow-up.
 7/8/2020       0.25    Received and read email Mr. Edgardo Toro Re: Court of

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                            Federal Claims Complaint

(capitalization in original).

For that same period of time, Mr. Grayson recorded the following attorney’s fees:

 Date             Time          Description
                  Claimed
 5/19/2020        0.3           Discussed stop-work order & corrective action w/
                                [redacted].
 5/20/2020        0.4           Discussed corrective action response.
 6/23/2020        0.4           Rec’d T/C; discussed CFC judicial review w/ [redacted].
 6/27/2020        0.6           Discussed debriefing & protest options
 7/3/2020         0.3           Advised [redacted] re legal options
 7/8/2020         0.2           Discussed related decision w/ [redacted].

(capitalization and brackets in original). AGMA’s attorneys, citing Levernier Construction,
Inc. v. United States, argue that precedent from the United States Court of Appeals for
the Federal Circuit establishes that “at its earliest, EAJA coverage may begin after the
decision of and in pursuit of an appeal from the decision of a contracting officer.” Levernier
Constr., Inc. v. United States, 947 F.2d at 500. AGMA’s attorneys continue that “[a]ll of
the attorney work in question falls on the right side of the line drawn in Levernier.”

       As discussed above, fees incurred for the earlier Ranger protest before the GAO
or proceedings in the executive branch agency are not recoverable as EAJA fees in this
court. Mr. Grayson claims to have worked on the above captioned protest, AGMA Security
Service, Inc. v. United States, Case No. 20-026C, before June 15, 2020, the date on
which the contracting officer made the award to Ranger in Case No. 20-926C, and the
agency was still conducting corrective action in response to the earlier Ranger protest at
the GAO. See generally Ranger American of Puerto Rico, Inc., B-418598.1.

        Mr. Grayson recorded that on May 19, 2020 and May 20, 2020 respectively, he
“[d]iscussed stop-work order & corrective action w/ [redacted],” and “[d]iscussed
corrective action response.” (brackets in original). According to his time log, Mr. Grayson
performed work on the corrective action and work at the GAO, which predates the protest
in this court, AGMA Security Service, Inc. v. United States, Case No. 20-926C. Moreover,
while “corrective action response” may have included discussions about a possible action
in this court, any such discussions or work performed would have been entirely
speculative prior to June 15, 2020 when the contract was awarded to Ranger and a
possible claim in AGMA Security Service, Inc. v. United States, Case No. 20-926C,
became real. Therefore, there was no justification in this case for the fees hours of work
that Mr. Grayson claims before June 15, 2020 because those hours were not for working
on AGMA Security Service, Inc. v. United States, Case No. 20-926C. Contrary to Mr.
Grayson’s argument regarding the Levernier case, Mr. Grayson’s hours prior to June 15,
2020 were, indeed, not “on the right side of the line drawn in Levernier.” Mr. Grayson’s
claim for 0.3 hours on May 19, 2020 and 0.4 hours on May 20, 2020, for a total of 0.7

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hours for $142.40, are denied.

       Regarding the time spent trying to include records from unrelated GAO
proceedings in the Administrative Record for the above captioned case, Case No. 20-
926, Mr. Grayson claims that the work that he performed trying to obtain, and include, the
records from separate, unrelated GAO proceedings initiated by Ranger American of the
Virgin Islands, Inc. into the Administrative Record in the AGMA Security Service, Inc. v.
United States, Case No. 20-926C, should be compensable as EAJA fees. In his brief to
include the documents, Mr. Grayson argues that

      briefs filed a few months ago [before the AGMA I, 152 Fed. Cl. 125 Opinion
      was issued] in GAO protest No. B-418539, a procurement protest initiated
      by Ranger American of the Virgin Islands. Inc. (“Ranger-VI”), sister
      company of Defendant-Intervenor Ranger American of Puerto Rico, Inc.
      (“Ranger-PR”). Ranger-VI was represented by the same counsel as
      Ranger-PR here. The fundamental reason why AGMA is proffering the
      lodged material is that both Ranger and defendant agency the Federal
      Emergency Management Agency (“FEMA”) made statements in those
      briefs, shortly before the award decision protested here, that are
      fundamentally at odds with that award decision, as well as statements that
      they have made to the court here.

(alteration added). Additionally, Mr. Grayson indicates

      [a]fter the Defendant refused to incorporate them [the GAO records] in the
      record, AGMA obtained them under the GAO’s version of the Freedom of
      Information Act, and proffered them to the Court. The Court’s decision did
      not rely upon these records, and the Court has never formally ruled on
      AGMA’s motion. Although the Defendant would like to make it seem as
      though it prevailed on this issue, the Court never ruled. In any event, for
      EAJA purposes, it simply doesn’t matter what the Court’s ruling would have
      been, because that AGMA motion clearly was part of these “proceedings,”
      and therefore covered by EAJA. 28 U.S.C. § 2414(d).

(alteration added; emphasis in original). Although AGMA’s attorney argues that the hours
devoted to inserting the GAO records into the Administrative Record for the case before
this court, AGMA Security Service, Inc. v. United States, Case No. 20-926C, should be
compensable under EAJA. Defendant does not agree. According to defendant,

      [t]he administrative record was filed on August 5, 2020, and after briefing
      was completed, oral argument was held on September 11, 2020. However,
      more than two months after the oral argument, on November 23, 2020,
      AGMA filed a motion to supplement the administrative record with various
      documents from unrelated bid protests at the Government Accountability
      Office (GAO).


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                These GAO records (briefing by unrelated parties at the GAO), were
         never incorporated into any briefing by the parties, but were purportedly
         submitted in support of AGMA’s unsuccessful Stafford Act, 42, U.S.C.
         § 5150(a)(1), argument. Indeed, the Court never ruled on AGMA’s motion
         to supplement the administrative record. Also, in rejecting AGMA’s
         interpretation of the Stafford Act, the Court did not refer to the documents
         in the opinion; rather, the Court only cited the publicly available opinion,
         Falken USVI, LLC, B-416581.2, 2019 WL 157737, that the parties had
         briefed. AGMA, 152 Fed. Cl. at 152–55.

(alteration added; internal citations omitted; emphasis in original).

       As acknowledged by both parties, the court did not consider or rely on these
unrelated GAO documents that AGMA’s attorneys tried to include in the Administrative
Record in the above captioned protest when the court concluded that protestor’s Stafford
Act claim did not have merit. Because these GAO documents were from an unrelated to
the case for which AGMA’s attorneys seek fees reimbursement, were not included in the
Administrative Record and were not relied on by the court in making its decision, the court
denies the following fee requests:

 Date             Time         Description
                  Claimed
 8/16/2020        0.5          Drafted and field expedited records request to GAO

 8/21/2020        0.7          Rec’d order denying substitution of counsel; began reviewing
                               Gov’t and Ranger briefs; FOIA follow-up

 8/28/2020        0.1          Follow-up FOIA Request

 9/14/2020        1.3          Prepared and filed supplemental brief

 11/15/2020       0.2          Note to BH[10] re accessing GAO FOIA records

 11/16/2020       1.2          Reviewed GAO record in Falken-Ranger protest

 11/22/2020       2.7          Drafted request for leave to file GAO materials

 11/23/2020       0.9          Filed request for leave to file GAO materials; order and notes
                               re same; circulated redactions

 11/26/2020       0.4          Finalized and filed redacted motion for leave to file
                               documents

 12/6/2020        0.8          Reviewed Opps. [Opposition] To supplementation; follow-up

10   The use of the initials “BH” is not explained.
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                              re: Ranger documents

 12/8/2020       4.4          Researched and filed leave reply.

 Total           13.2


(alteration added; capitalization in original). The court, therefore, disallows 13.2 hours of
Mr. Grayson’s claimed fee request for time for the hours spent on his attempt to include
unrelated GAO documents into the Administrative Record in AGMA Security Service, Inc.
v. United States, Case No. 20-926C.

         Appeal to the United States Court of Appeals for the Federal Circuit

       AGMA’s attorneys also assert that they are entitled to attorneys’ fees for work on
the appeal in the United States Court of Appeals to the Federal Circuit, which was filed
by Ranger, the intervenor in Case No. 20-926C. As described above, defendant argues
the fees incurred for work on the appeal are not compensable under EAJA in this protest.
Defendant further argues that this claim for work on the appeal was a special
circumstance and the claim for attorneys’ fees claimed by the AGMA attorneys for the
work on the appeal should be denied. As discussed above, the court does not agree with
defendant and has concluded that the time spent working on the appeal is compensable
under EAJA.

        As noted above, although Mr. Grayson’s records are not overly detailed, they are
sufficient for the court to review. As stated by a Judge of this court,

         the court agrees that some of the entries in the billing records are somewhat
         cryptic or short on details. In at least some instances, however, the lack of
         detail is cured by cross-checking the time sheets for the various attorneys
         who worked on this case and by reviewing docket entries to determine what
         specific filings were being made at particular times . . . .

         In particular, the court finds that, given the overall level of detail, the fact
         that some of the entries cited by defendant do not list subjects is not
         disqualifying. See KMS Fusion, 39 Fed. Cl. at 600 (“As a practical matter,
         certain tasks performed by attorneys are not amenable to issue-based
         recordkeeping. For example, for an attorney to attempt to break down the
         time spent drafting a complaint on an issue-by-issue basis would not be
         productive.”). In the court's view, this conclusion is consistent not only with
         the Supreme Court's instructions in Hensley and the prior jurisprudence in
         this circuit, but also with the overarching mandate that the fees awarded
         here be “reasonable.”

Applegate v. United States, 52 Fed. Cl. 751, 769–70 (2002), aff’d, 70 F. App’x 582 (Fed.
Cir. 2003), cert. denied, 540 U.S. 1149 (2004). Mr. Grayson’s entries provide sufficient,

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albeit not extensive, detail, or always connections to prepared documents, but the time
expended is supported and does not appear to be a “specific showing of abuse.” See id.
at 585.

       In total, for work performed on the merits of the AGMA Security Service, Inc. v.
United States, Case No. 20-926C, the court allows the following hours for Mr. Grayson’s
fee requests:


                      Hours
 Date                           Description
                      Claimed
                              Rec’d T/C; discussed CFC judicial review w/
         6/23/2020        0.4
                              [redacted].
         6/27/2020        0.6 Discussed debriefing & protest options.
          7/3/2020        0.3 Advised [redacted] re legal options.

           7/8/2020       0.2 Discussed related decision with [redacted].

         7/22/2020        1.3 Prepared and served pre-filing notice.
         7/23/2020        3.2 Drafted Complaint statement of facts.
                              Finished drafting complaint; discussed same w/ AF &
         7/24/2020        2.8
                              Ranger att’y.
         7/25/2020        0.3 Discussed status w/ AF

                                Researched & revised Complaint re Stafford Act issue;
         7/27/2020        6.3
                                discussed matters w/ Gov’t att’y, AF & Ranger att’y.

                              Follow-up re Ranger public records; began drafting
         7/28/2020        1.9
                              injunction motion.
         7/29/2020        5.4 Finished and filed all initial submissions.

         7/30/3030        0.6 Rec’d initial court orders; follow-up re same & hearing.

                              Filed exhibits; prepared for & participated in
         7/31/2020        3.4 scheduling conf.; discussed same & AR w/ co-
                              counsel.

           8/2/2020       0.9 Exchanged notes w/ DOJ re administrative record.

           8/3/2020       1.6 Discussed AR w/ opposing counsel.
           8/5/2020       0.3 Exchanged notes re AR.
           8/6/2020       0.7 Protective order applications.

           8/7/2020       0.4 Follow-up re protective order and redactions.



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                       Follow-up re Fuertes admission to protective order;
   8/8/2020      0.8
                       prepared redactions for MSJ.

                       Filed redacted motion for preliminary injunction;
 8/11/2020       1.6
                       reviewed administrative record.

 8/12/2020       8.3 Drafted MJAR; discussed same with AF.
 8/13/2020       3.3 Finalized & filed MJAR.
                     Sent file to AF; note re CPARS; reviewed AGMA-
 8/15/2020       0.4
                     FEMA corresp.
 8/17/2020       0.2 Rec’d filings re substitution of counsel.
 8/25/2020       5.3 Began drafting MJAR reply.
 8/26/2020       8.9 Finished drafting & filed MJAR reply.

 8/30/2020       0.1 Exchanged notes re extension on Gov’t brief.

 8/31/2020       0.3 Reviewed Ranger reply brief.
                     Added redactions to Ranger initial brief; circulated
   9/1/2020      1.8
                     same.
                     Prepared add’l redactions of Ranger reply brief;
   9/8/2020      0.8
                     exchanged notes w/ Gov’t counsel.

   9/9/2020      0.2 Exchanged notes re supposed AGMA size protest.

                       Prepared for arg.; arg.; post-mortem w/ local counsel;
 9/11/2020       3.9
                       exchanged notes re SBA proceedings.

 10/8/2020       0.1 Status report to AF.
10/25/2020       0.1 Forwarded redacted briefs to AF.
10/30/2020       0.1 Status report to AF.
                     PROTEST SUSTAINED; discussed same & follow up
12/29/2020       1.0
                     w/ AF.

                       Began preparing proposed decision redactions; notes
   1/4/2021      0.6
                       to Gov’t att'y re reversing T/C & redaction.

 1/14/2021       1.1 Reviewed proposed redactions; responded to same.

 1/16/2021       0.2 Provided redacted decision to client.
 3/10/2021       0.1 Exchanged notes re redactions.

 3/11/2021       0.1 Reviewed Gov’t proposed filing re redactions.

 3/12/2021       0.7 Research on mootness.
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 3/16/2021       0.1 Reviewed corrected notice of appearance for Ranger.

 3/19/2021       0.1 Reviewed court order re redactions.
                     Researched & drafted motion to dismiss Ranger
 3/21/2021       4.3
                     appeal.
                     Dismissed motion w/ filing service; exchanged notes
 3/22/2021       0.3
                     re same.

                       Exchanged notes re motion to dismiss & Gov’t
 3/23/2021       1.3
                       participation; finalized motion to dismiss.

                     Prepared & filed notice of appearance & certificate of
 3/28/2021       1.4
                     interest.
   4/4/2021      0.2 Reviewed briefing schedule changes.

   4/9/2021      0.3 Began reviewing opp. to dismissal of appeal.

 4/10/2021       3.6 Began drafting reply in support of dismissal.

 4/11/2021       4.4 Finished drafting dismissal reply brief.
 4/12/2021       1.8 Revised dismissal reply brief.

 4/14/2021       2.9 Drafted 2nd motion to dismiss on standing/jurisdiction.

 4/22/2021       0.3 Rec’d & reviewed opp. to 2d dismissal motion.

 4/24/2021       4.0 Drafted 2d dismissal reply.
                     Exchanged notes w/ filing service re filing 2d dismissal
 4/27/2021       0.4
                     reply.
 5/19/2021       0.4 Rec’d & circulated appeal briefing order.

   6/4/2021      0.2 Correspondence re extension on Gov’t brief.

   6/7/2021      0.2 Exchanged notes re Gov’t appeal filings.

 6/11/2021       0.2 Correspondence re second Gov’t extension.

 6/15/2021       0.1 Rec’d order extending briefing schedule.
 6/25/2021       0.1 Status report to AF.

 6/26/2021       3.4 Drafted response to Gov’t brief on mootness.

 6/29/2021       0.4 Reviewed Ranger response to DOJ brief.
                     Rec’d and reviewed briefing order; note to AF re
   8/2/2021      0.2
                     status.
 8/27/2021       0.5 Exchanged notes re dismissal of appeal.
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            9/1/2021        0.2 Appeal dismissed.
               Total      101.9

(capitalization and brackets in original). The court also allows the following hours for Mr.
Fuertes’ fee requests:

                       Hours
 Date                             Description
                       Claimed
                                  Received and read email for attorney Alan Grayson
 7/2/2020              0.25
                                  Re: Court of Federal Claims Complaint
                                  Telephone Meeting with AGMA directors (Sr. Edgardo
 7/3/2020              3.50       Toro and Hector Agosto) Re: Court of Federal Claims
                                  Complaint
                                  Received and read email/Complaint from attorney
 7/3/2020              1.50
                                  Alan Grayson Re: Court of Federal Claims Complaint
                                  Received and read email Mr. Edgardo Toro Re: Court
 7/8/2020              0.25
                                  of Federal Claims Complaint
                                  Telephone Meeting and Work with Attorney Alan
 7/24/2020             3.50
                                  Grayson and Plaintiff Re: Complaint; reviewed same.
                                  Received, read and emails from/to Mr. Edgardo Toro
 7/24/2020             1.50       and AGMA directors. Telephone call with AGMA Re:
                                  Complaint
                                  Received and read email from Attorney Alan Grayson
 7/29/2020             1.00       and AGMA Directors Re: Complaint against Ranger;
                                  follow-up.
                                  Received and read email from attorney Alan Grayson
 7/30/2020             0.25
                                  Re: Preliminary Hearing
 7/31/2020             2.50       Prepare and Attendance in Preliminary Hearing
                                  Prepare Application for Access to Information under
 8/6/2020              0.50
                                  Protective Order; reviewed Order.
                                  Telephone Calls with attorney Alan Grayson, Plaintiff.
 8/11/2020             4.50       Received, Read and Analyzed Motion For Preliminary
                                  and Permanent Injunction; research Re: Motion.
                                  Receive, read and analyze Court Order RE:
 8/21/2020             0.25
                                  Substitution of Counsel
                                  Receive, read, and analyze Reply in Support For
 8/26/2020             3.00
                                  Judgment; factual and legal research Re: Reply.
                                  Receive, read, analyze Defendant Reply in Support of
 8/31/2020             4.00       Judgment; factual and legal research Re: Defendant
                                  Reply.


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                                   Receive, read, and analyze Defendant Reply in
 9/1/2020               3.00       Support of Its Cross Motion for Judgment; continued
                                   research.
                                   Received, Read and Explained to Plaintiff email
 9/9/2020               0.50
                                   regarding Defendant position Re: SBA
                                   Telephone Meeting with attorney Alan Grayson and
 9/11/2020              2.25
                                   Plaintiff Re: Oral Argument Hearing; reviewed briefs.
                                   Received and Read Email from attorney Alan Grayson
 8/10/2020[11]          0.25
                                   Re: Status of Case
                                   Received Read and Analyze Email from attorney Alan
 11/23/2020             1.00
                                   Grayson Re: effect of Ranger’s original protest
                                   Received, Read, and Analyze Sealed Opinion of
 12/29/2020             5.50       United States Court of Federals Claims and explained
                                   Judgment to Plaintiff.
                Total 39

(capitalization in original).

         EAJA Fees for Work on EAJA Fee Claim

       Mr. Grayson also requests fees for the time spent preparing the initial and renewed
EAJA fee requests, as well as time spent litigating the requests. As noted above, AGMA’s
attorneys claim time related to preparing the initial EAJA fee request, and which this court
dismissed as premature due to the pending Ranger appeal in the United States Court of
Appeals for the Federal Circuit. Following Ranger’s unsuccessful and completed appeal,
AGMA’s attorneys timely submitted a renewed fee request, which includes the hours
claimed in the initial EAJA fee request as well as the hours Mr. Grayson claims he spent
working on the appeal. Mr. Grayson also claims an additional 1.3 hours to prepare the
“renewed fee petition” for attorneys’ fees and costs for a total of $38,200.65. Thereafter,
Mr. Grayson filed a reply brief on November 8, 2021 in which he claims that he worked
an additional 9 hours litigating the initial and renewed EAJA fee requests. Defendant does
not dispute the specific time entries Mr. Grayson spent while completing the EAJA fees
application. Rather, defendant argues that

         the Court should exclude the time Mr. Grayson spent litigating the initial
         EAJA application, which the Court held to be premature. For example, the
         Government filed a motion to dismiss, without prejudice, the premature
         EAJA application on February 24, 2021. After the issue was raised at a
         status conference, and despite Ranger having already filed its notice of
         appeal, AGMA declined to withdraw the application and insisted on


11   The time log as submitted by AGMA’s attorneys is out of chronological order.
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       opposing the Government’s motion. However, the court granted the
       Government’s motion to dismiss the EAJA application on March 14, 2021.

(internal citations omitted; emphasis in original). Both the United States Supreme Court
and the United States Court of Appeals for the Federal Circuit have indicated that a court
may make an award for legal fees for the work performed on an EAJA claim. The
Supreme Court in Scarborough v. Principi, 541 U.S. 401, noted that

       a party who prevails in fee litigation under EAJA may recover fees for legal
       services rendered during the fee litigation even if some of the Government’s
       positions regarding the proper fee were “substantially justified,” i.e., the
       district court need not make a second finding of no substantial justification
       before awarding fees for the fee contest itself.

Id. at 419 n.6 (citing Comm’r v. Jean, 496 U.S. at 160–62); see also Wagner v. Shinseki,
640 F.3d at 1259. Similarly, in Fritz v. Principi, 264 F.3d 1372, regarding the calculation
of fees for work on the EAJA claim, the Federal Circuit has indicated that, for work on the
case at issue, a protestor is “entitled to attorney fees incurred throughout the litigation,
including those incurred in preparation and defense of the fee application to the extent
those fees are defensible.” Id. at 1377 (footnote omitted); see also Info. Scis. Corp. v.
United States, 88 Fed. Cl. at 635 (a claimant is “entitled to fees incurred in preparation
and defense of the fee application”). Moreover, to review all fee requests in one review is
far more efficient and avoids a second EAJA litigation. As stated by the United States
Court of Appeals for the Federal Circuit, “[t]o deny a litigant all supplemental fees simply
because the defense of his original fee application was not wholly successful unjustifiably
dilutes the value of the original EAJA fee award and is contrary to the fundamental
objectives of the EAJA.” Wagner v. Shinseki, 640 F.3d at 1260. In Prowest Diversified,
Inc. v. United States, 40 Fed. Cl. 879 (1998), the court found that “[a]ttorney fees incurred
in assembling an EAJA application, however, are reimbursable to plaintiff only on a pro
rata basis.” Id. at 889; see also Skip Kirchdorfer, Inc. v. United States, 16 Cl. Ct. 27, 34
(1988) (“a successful applicant is entitled to a pro rata share of the attorneys’ fees and
expenses incurred in preparation of its EAJA application”). This adjustment prevents the
award of fees that went toward preparing the EAJA claim for those portions of the claim
that were not successful. The Federal Circuit, in Wagner v. Shinseki, approved this same
approach, noting that, “[b]ecause Hensley requires a court to calibrate the amount of
attorney fees to the degree of success a claimant has achieved, it is generally appropriate
to make an award of supplemental fees that is commensurate with the degree of success
obtained on the original fee application.” Wagner v. Shinseki, 640 F.3d at 1260.

      Regarding the EAJA fees requests before the court, this court finds that the time
that Mr. Grayson claims he spent preparing the initial fee application is reimbursable
because the initial fee preparation and the initial fee request were incorporated into the
AGMA attorneys’ renewed fee request. The court also finds that the additional 9 hours
that Mr. Grayson claims he spent litigating the renewed EAJA request also is
reimbursable., consistent with the concept that the prevailing party “under EAJA may
recover fees for legal services rendered during the fee litigation.” Scarborough v. Principi,

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541 U.S. at 419 n.6. Although the initial fee request was filed before the case on appeal
was concluded, the work was not duplicative. The hours that Mr. Grayson claims that he
performed for his initial fee request became part of his cumulative, renewed request. In
addition, the 9 hours that Mr. Grayson spent litigating the renewed EAJA fees request are
not duplicative of the time he spent putting together the first two requests. The court,
therefore, approves the following hours claimed by Mr. Grayson for work on the EAJA fee
requests:

                            Hours
                Date               Description
                          Claimed
                                   Reviewed rules re att’y fee petition; note to AF re
          1/20/2021            0.7
                                   same; began reviewing AR.
                                   Discussed fee petition w/ AF; received spreadsheet
          1/26/2021            0.5
                                   re same.
                                   Researched, drafted, & filed fee application &
          1/27/2021            5.4
                                   AGMA/Fuertes decls.
                                   Provided information re CPA declaration;
          1/28/2021            0.5
                                   exchanged notes re redactions
                                   Prepared fee app. redactions; filed EAJA
          1/29/2021            0.8
                                   supplement.

          1/31/2021             0.2 Began reviewing record for redactions.

          2/25/2021             0.5 EAJA research.
                                    Researched & drafted opp. [opposition] to EAJA
           3/3/2021             3.0
                                    delay.
                                    Reviewed Gov’t EAJA reply; joined in Ranger
           3/9/2021             0.6
                                    redaction request.

          3/14/2021             0.2 Reviewed att’y fee ruling.
          9/17/2021             1.3 Prepared renewed fee petition.
         10/13/2021             0.2 EAJA extension notes w/ Gov’t.
                                    Reviewed Gov’t EAJA brief; note to local counsel re
         10/21/2021             0.6
                                    reply
          11/6/2021             0.3 Discussed EAJA opp. [opposition] w/ AF.
          11/7/2021             6.0 Researched & drafted EAJA reply.
                                    Exch’d notes w/ AF; rec’d AF decl.; revised,
          11/8/2021             1.9
                                    finalized & filed reply
               Total           22.7

(alteration added; capitalization in original).

       Applying the pro rata approach taken in the cases cited above to the current EAJA

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requests, the claim for EAJA application fees will be reduced by the same percentage as
the overall award of EAJA attorneys’ fees was reduced. The court finds that Mr. Grayson
claims a total of 138.5 hours, of which 115.8 were spent on the merits of AGMA Security
Service, Inc. v. United States, Case No. 20-926C, and 22.7 hours preparing and litigating
the EAJA fee requests. Mr. Fuertes claims a total of 47 hours, all spent on the merits. The
court denied 13.9 hours of Mr. Grayson’s claimed time and denied 8 hours of Mr. Fuertes’
claimed time, for a total of 21.9 hour. Mr. Grayson’s and Mr. Fuertes’ combined time
claimed for the merits of AGMA Security Service, Inc. v. United States, Case No. 20-926C
was 162.8 hours. The 21.9 hours represent 13.45% of the total hours claimed for the
merits.

       The court allows 22.7 hours for the time claimed by Mr. Grayson for the preparation
of the initial EAJA fees request, the renewed EAJA fees request, and the additional 9
hours that Mr. Grayson requested in his reply brief. The court reduces the 22.7 hours that
Mr. Grayson claims for preparing and litigating his EAJA fee requests on a pro rata basis
by 13.45% to 19.65 hours. Because Mr. Grayson prepared the fee requests, he is entitled
to the adjusted rate of $203.43 an hour for those 19.65 hours, for a total of $3,997.40.

Bill of Costs – Other Fees and Expenses

      RCFC 54(d)(1) provides, in part, that “[c]osts-other than attorney’s fees-should be
allowed to the prevailing party to the extent permitted by EAJA, 28 U.S.C. § 2412(a)(1).”
RCFC 54(d)(1). EAJA provides:

       Except as otherwise specifically provided by statute, a court shall award to
       a prevailing party other than the United States fees and other expenses, in
       addition to any costs awarded pursuant to subsection (a), incurred by that
       party in any civil action (other than cases sounding in tort), including
       proceedings for judicial review of agency action, brought by or against the
       United States in any court having jurisdiction of that action, unless the court
       finds that the position of the United States was substantially justified or that
       special circumstances make an award unjust.

28 U.S.C. § 2412(d)(1)(A); see also Oliveira v. United States, 827 F.2d at 741. The
prevailing party has the obligation to provide documentation of the costs it requests. See
Asphalt Supply & Serv., Inc. v. United States, 75 Fed. Cl. 598, 602 (2007) (citing Pan Am.
Grain Mfg. Co. v. Puerto Rico Ports. Auth., 193 F.R.D. 26, 35 (D.P.R. 2000), aff’d, 295
F.3d 108 (1st Cir. 2002)). AGMA’s attorneys request reimbursement for the filing fee,
submitted to the court to process the complaint and subsequent litigation in Case No. 20-
926C. Defendant does not raise any objection to the request for the filing fee.

         To tax a requested cost, the judge, or the clerk as the court’s designee, must find
that it is a necessary litigation expense and that the amount to be taxed is reasonable.
See Salem Fin., Inc. v. United States, 134 Fed. Cl. 544, 547 (2017) (citing Soler v. Waite,
989 F.2d 251, 255 (7th Cir.), reh’g denied (7th Cir. 1993); Otay Mesa Prop., L.P. v. United
States, 127 Fed. Cl. 146, 149 (2016) (citing Soler v. Waite, 989 F.2d at 255); Standard

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Commc’ns, Inc. v. United States, 106 Fed. Cl. 165, 175 (2012) (citing Soler v. Waite, 989
F.2d at 255). A Judge of this court has noted that “[u]nder the Equal Access to Justice
Act (‘EAJA’), 28 U.S.C. § 2412, the Federal Circuit has rejected the claim that parties
could not recoup expenses for photocopying, printing and binding of briefs, telephone,
postal, and overnight delivery services.” Hopi Tribe v. United States, 55 Fed. Cl. 81, 100
(2002) (citing Oliveira v. United States, 827 F.2d at 743–44 (citing Int’l Woodworkers of
Am. v. Donovan, 792 F.2d 762, 767 (9th Cir. 1985))) (footnote omitted); see also United
Partition Sys., Inc. v. United States, 95 Fed. Cl. 42, 63 (2010) (finding “that
the photocopying expenses and court reporter fees at issue are reasonable, were
incurred in preparation for, and in conjunction with, the litigation in this court, and would
‘customarily be charged to the client.’”) (quoting Oliveira v. United States, 827 Fed. Cl. at
744). A Judge of this court in Hopi Tribe v. United States also indicated that “[u]nder the
EAJA, this court has awarded administrative expenses and costs such as the ‘recovery
of copying, delivery services, travel, research services, telephone, and postage costs, as
well as other expenses routinely incurred by attorneys, assuming they are documented
and reasonably necessary to prosecution of the claim.”’ Hopi Tribe v. United States, 55
Fed. Cl. at 100 (quoting R.C. Constr. Co., v. United States, 42 Fed. Cl. 57, 63–64 (1998)).
AGMA’s attorneys request $400.00 as a filing fee. The court finds the filing fee is a
reasonable cost and is allowable as a necessary part of this litigation. Consequently, the
court awards AGMA’s attorneys the claimed costs of $400.00.

                                      CONCLUSION

       Mr. Grayson claims 138.5 total hours of work on AGMA Security Service, Inc. v.
United States, Case No. 20-926C, and the court denies 13.9 hours as unsubstantiated or
unreasonable. The court grants Mr. Grayson 101.9 hours for the work that he performed
on AGMA Security Service, Inc. v. United States, Case No. 20-926C in this court
($20,729.52), and 19.65 hours for the time he claimed for putting together the initial EAJA
fee request, the renewed EAJA fee request, and for litigating the EAJA fee requests
($3,997.40). The court grants Mr. Fuertes 39 hours for the work that he performed on
AGMA Security Service, Inc. v. United States, Case No. 20-926C in this court ($7,800.00).
In addition, the court finds that AGMA’s attorneys are entitled to reimbursement for the
$400.00 filing fee. This comes to a total of $32,926.92. Therefore, AGMA’s attorneys’
application for attorneys’ fees and other expenses is GRANTED IN PART and DENIED
IN PART. Accordingly, AGMA’s attorneys are entitled to recover attorneys’ fees and costs
in the amount of $32,926.92.


       IT IS SO ORDERED.
                                                         s/Marian Blank Horn
                                                         MARIAN BLANK HORN
                                                                  Judge




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